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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA

                                                    )
NICOLAS TALBOTT, ERICA VANDAL, KATE                 )
COLE, GORDON HERRERO, DANY                          )
DANRIDGE, JAMIE HASH, MIRIAM                        )
PERELSON, MINERVA BETTIS, AUDRIE                    )
GRAHAM, ROAN PICKETT, AMIAH SALE,                   )
QUINN TYSON, CLAYTON McCALLISTER,                   )
GREYSON SHISHKINA, KODA NATURE, and                 )
CAEL NEARY,                                         )
                                                    )
                     Plaintiffs,                    )
                                                    )
v.                                                  )
                                                    )
The UNITED STATES OF AMERICA; PETER B.              )
HEGSETH,                                            )
in his official capacity as Secretary of Defense;       Civil Action No. 25-cv-240-ACR
                                                    )
MARK AVERILL, in his official capacity as           )
Acting Secretary of the Army; the UNITED            )
STATES DEPARTMENT OF THE ARMY;                      )
TERENCE EMMERT, in his official capacity as         )
Acting Secretary of the Navy; the UNITED            )
STATES DEPARTMENT OF THE NAVY;                      )
GARY ASHWORTH, in his official capacity as          )
Acting Secretary of the Air Force; the UNITED       )
STATES DEPARTMENT OF THE AIR FORCE;                 )
TELITA CROSLAND, in her official capacity as        )
Director of the Defense Health Agency; and the      )
DEFENSE HEALTH AGENCY,                              )
                                                    )
                     Defendants.
                                                    )
                                                    )


                   MEMORANDUM OF LAW IN SUPPORT OF
     PLAINTIFFS’ RENEWED APPLICATION FOR PRELIMINARY INJUNCTION
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                                       INTRODUCTION

       This case is a test of the core democratic principle that makes our country worth

defending—that every person is of equal dignity and worth and is entitled to equal protection of

the laws. The administration’s policy targeting transgender service members violates this principle

and disrespects those who serve our nation.

       The Plaintiffs in this case include an Army Major who received a Bronze Star for

meritorious achievements while serving as a Battery Commander in Afghanistan. A Sergeant First

Class who has received five Army Commendation Medals and seven Army Achievement Medals.

An Ensign who was named Sailor of the Year and is now a Student Naval Flight Officer. They

have decades of experience, training, and education, including a West Point education and several

master’s degrees. They are leaders, responsible for the training, performance, and wellbeing of

troops they oversee, and they are preparing the next generation of military leaders for success in

ROTC and West Point.

       These individuals have dedicated their lives to serving their country, meeting and

exceeding the rigorous standards for military service, with significant military investment in their

training. They serve honorably, have followed official policies permitting their service, and have

engaged in no wrongdoing. They seek nothing more than the opportunity to continue dedicating

their lives to defending the Nation. Yet these accomplished servicemembers are now subject to

an order that says they must be separated from the military based on a characteristic that has no

bearing on their proven ability to do the job. This is a stark and reckless reversal of policy that

denigrates honorable transgender servicemembers, disrupts unit cohesion, and weakens our

military.

       The unprecedented nature of this policy is instructive. As noted in Romer v. Evans,

“discriminations of an unusual character especially suggest careful consideration to determine
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whether they are obnoxious to the constitutional provision.” 517 U.S. 620, 633 (1996). Like the

provision invalidated in Romer, this order “identifies persons by a single trait and then denies them

protection across the board,” disregarding individual qualifications and applying standards

inconsistent with those used for other service members. “It is not within our constitutional tradition

to enact [policies] of this sort.” Id.

                                     STATEMENT OF FACTS

        A.      The 2016 Carter Policy

        In 2016, following a comprehensive study and thorough review by senior military

leadership, Secretary of Defense Ashton Carter announced a policy permitting transgender

individuals to serve openly in the military. Decl. of Alex Wagner (“Wagner Decl.”), ECF No. 13-

20 ¶ 14; Decl. of Yvette Bourcicot (“Bourcicot Decl.”), ECF No. 13-28 ¶¶ 12–15. This decision

was based on rigorous research, including a RAND Corporation study commissioned by the

Department of Defense, which concluded that allowing transgender individuals to serve openly

would have no adverse impact on unit cohesion, operational effectiveness, or readiness. Bourcicot

Decl. Ex A, ECF No. 13-29 at 14; 60–68.

        The Carter Policy, implemented through Directive-Type Memorandum 16-005, established

that “service in the United States military should be open to all who can meet the rigorous standards

for military service and readiness,” and that transgender individuals meeting those standards would

be allowed to serve. Wagner Decl. Ex. A, ECF No. 13-22 at 2–7. The Carter Policy authorized

gender transition during military service and the enlistment of transgender individuals who had

already transitioned. See Decl. of Joseph Wardenski (“Wardenski Decl.”) Ex. H, ECF No. 13-11.

        According to the Department of Defense’s Implementation Handbook (Sept. 30, 2016), a

transgender service member is one who “intends to begin transition, is undergoing transition, or

has completed transition.” Wardenski Decl. Ex. B, ECF No. 13-5 at 12. The handbook provided

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protocols for changing gender markers in records, applying sex-based standards of the transitioned

gender, and accessing medical care. Id. at 18–21. It also included scenarios covering various

stages of transition. Id. at 49–58. In sum, the “open service” policy recognized that transgender

service required not just allowing different identity from birth sex but enabling transgender

individuals to serve in that identity throughout their military careers.

       As Dr. Brown explains, the very purpose of the open service policy is to allow transgender

individuals to live in accordance with their gender identity. Dr. Brown clarifies that “the definition

of transgender has always presumed that transgender individuals live—or would live if

permitted—in accordance with their gender identity.” Supp. Decl. of George Richard Brown

(“Brown Supp. Decl.”), ECF No. 32 ¶ 5. He emphasizes that any interpretation suggesting

otherwise fundamentally misunderstands what it means to be transgender: “The opinion in Doe 2

v. Shanahan creates a false distinction between transgender individuals who ‘identify’ differently

from their birth sex and those who ‘live in accordance’ with their gender identity. Such a

distinction fundamentally misunderstands the nature of being transgender.” Id. ¶ 7. While Dr.

Brown acknowledges and Plaintiffs do not dispute that “some transgender individuals may [live

in their birth sex] due to external constraints like prejudice or discrimination,” he clarifies that

“this does not represent a sustainable situation for most transgender people.” Id. ¶ 14. To the

contrary, “forcing transgender individuals to suppress their gender identity and live according to

their birth sex is not merely uncomfortable—it is psychologically harmful and can lead to

significant distress, depression, and other serious mental health conditions.” Id. ¶ 10. The Austin

policy recognizes that meaningful transgender service requires allowing a transgender service

member not simply to “identify” as another sex, but to live consistently with their gender identity,

just as non-transgender service members do.



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       B.         First Trump Administration Ban

       On July 26, 2017, President Trump announced via Twitter that the government “will not

accept or allow Transgender individuals to serve in any capacity in the U.S. military.” Wardenski

Decl. Ex. D, ECF No. 13-7 at 2. This was formalized in a presidential memorandum on August

25, 2017 (“White House Directive” or “Directive”). Wardenski Decl. Ex. F, ECF No. 13-9. That

White House Directive ordered the Secretary of Defense to return to the policy in place “prior to

June 2016” that prohibited transgender people from serving in a sex different than their birth sex,

halted all use of DoD resources for “sex reassignment surgical procedures for military personnel,”

and directed Secretary Mattis to develop an implementation plan. Id. at 3.

       Secretary Mattis released the “Mattis Plan” on February 22, 2018 (ECF No. 13-10), which

reversed the Carter Policy by barring transgender individuals who had transitioned, needed to

transition, or would transition from military service. Wardenski Decl. Ex. G. Only those who had

already transitioned under the Carter Policy could remain in service. All others with gender

dysphoria could serve only in “their biological sex” and only if they did not “require a change of

gender.” Id. at 2–3, 10–11.

       This approach reversed the Carter Policy by requiring transgender service members to

forego medically necessary care and suppress their transgender identity as a condition of service.

Id. As Dr. Brown explained, this requirement causes serious harm and is not sustainable, just as

requiring a non-transgender person to live in a sex different than their gender identity would not

be sustainable.

       C.         The 2021 Austin Policy

       On January 25, 2021, President Biden issued Executive Order 14004, “Enabling All

Qualified Americans to Serve Their Country in Uniform,” which repealed the Trump

Administration’s transgender military ban. Exec. Order No. 14,004, 86 F.R. 7471 (Jan. 25, 2021).

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The Executive Order stated that “it shall be the policy of the United States to ensure that all

transgender individuals who wish to serve in the United States military and can meet appropriate

standards shall be able to do so openly—free from discrimination.” Id. § 1.

       Secretary of Defense Lloyd Austin implemented this directive by revising military policy

to again permit transgender troops to serve openly and on equal terms with other service members.

Declaration of Gil Cisneros (“Cisneros Decl.”), ECF No. 13-30 ¶¶ 8–11. The framework was

established through two key instructions:

   1. DoD Instruction 6130.03, Volume 1 (Accessions), which authorizes transgender
      individuals to enlist in a sex different than their birth sex if they have been stable
      for 18 months following gender transition- —i.e., living in a different sex than their
      birth sex and have no anticipated need of additional medical care for treatment of
      gender dysphoria other than continued hormone use. Wardenski Decl. Ex. H, ECF
      No. 13-11 §§ 6.13.g; 6.14.n; 6.28.t;

   2. DoD Instruction 1300.28, which details procedures for in-service gender transition.
      The instruction requires transgender service members to receive a gender dysphoria
      diagnosis and a medical treatment plan for gender transition, follow that treatment
      plan, and change their sex marker in DEERS. Upon changing their sex marker in
      DEERS, the service member would then be subject to all military standards for
      others service members of the same sex as determined by a person’s DEERs
      marker. Wagner Decl. Ex. D, ECF No. 13-25 at 8-11.

This policy has been successfully implemented for over four years.        See, e.g., Decl. of Erica

Vandal (“Vandal Decl.”), ECF No. 13-33 ¶¶ 9, 15; Decl. of Kate Cole (“Cole Decl.”), ECF No.

13-34 ¶¶ 4, 13; Decl. of Gordon Herrero (“Herrero Decl.”), ECF No. 13-35 ¶¶ 9, 14–15; Decl. of

Jamie Hash (“Hash Decl.”), ECF No. 13-37 ¶ 11. Plaintiffs’ military witnesses know of no studies

or other information available through military sources that demonstrates transgender people as a

group have been serving other than honorably and meeting military standards. Wagner Decl., ECF

No. 13-20 ¶¶ 27–46; Bourcicot Decl., ECF No. 13-28 ¶ 23–33; Decl. of Carlos Del Toro (“Del

Toro Decl.”), ECF No. 48-2 ¶¶ 15–20; Cisneros Decl., ECF No. 13-30 ¶¶ 20–28.




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       D.      President Trump’s Second Ban

       On January 27, 2025, President Trump issued Executive Order 14183, titled “Prioritizing

Military Excellence and Readiness.” Exec. Order No. 14,183, 90 F.R. 8757 (Jan. 27, 2025) (the

“Order”). The Order directs the Secretary of Defense to reverse the current transgender military

policy and adopt, instead, a policy predicated on the President’s Order stating that being

transgender is incompatible with “high standards for troop readiness, lethality, cohesion, honesty,

humility, uniformity, and integrity.” Id. § 2.

       The Order states that “expressing a false ‘gender identity’ divergent from an individual’s

sex cannot satisfy the rigorous standards necessary for military service.” Id. § 1. It further declares

that “adoption of a gender identity inconsistent with an individual’s sex conflicts with a soldier’s

commitment to an honorable, truthful, and disciplined lifestyle, even in one’s personal life.” Id.

It also states that, a “man’s assertion that he is a woman, and his requirement that others honor this

falsehood, is not consistent with the humility and selflessness required of a service member.” Id.

       The Order deprives transgender service members of any ability to be recognized as or to

serve in a sex different than their sex at birth. Id. § 3. It does so by incorporating definitions from

Executive Order 14168 that defines “sex” as “an individual’s immutable biological classification

as either male or female” at birth, and then providing that, effective immediately, “the Armed

Forces shall neither allow males to use or share sleeping, changing, or bathing facilities designated

for females, nor allow females to use or share sleeping, changing, or bathing facilities designated

for males.” Exec. Order No. 14,168, 90 F.R. 8615 (Jan. 20, 2025) at § 2 (a)–(e); id. § 4(d). The

Order also directs that transgender service members may not use “identification-based” pronouns,

the Order § 4(b), meaning that they must use pronouns based on their birth sex.

       The Order’s incorporation of the definition of sex from Executive Order 14168 reflects

purposeful discrimination. Decl. of Dr. Carrie Baker (“Baker Decl.”) ¶¶ 13–15. The adoption of
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this definition represents a deliberate intent to exclude transgender people from legal recognition

and protection. Id. As legal historian Dr. Carrie Baker explains, “By defining sex exclusively by

reference to a person’s reproductive capacity at birth, it creates a classification that entirely

excludes transgender people.” Id. ¶ 15. Just as states and the federal government began defining

marriage explicitly to exclude same-sex couples while claiming to merely codify longstanding

definitions, the Order’s definition of sex as fixed at birth represents not a continuation of historical

practice but “a novel reaction to increasing social recognition of transgender individuals.” Id. ¶

21. This approach follows “a recognizable pattern of using selective definitions to restrict rights

when marginalized groups gain social visibility and recognition.” Id. ¶ 24. The definition

incorporated into the military ban “ties a person’s sex to their birth sex in a way that, like the

marriage definitions referred to earlier, on its face and by design denies transgender people the

law’s protections.” Id. ¶ 25.

          The Order directs the Secretary of Defense to update military medical standards to reflect

the “purpose and policy of this Order” within 60 days. The Order § 4(a). In the meantime, the

government has issued a barrage of directives to carry out the Order’s purposes by “pausing”

accession for transgender applicants, cancelling scheduled medical care for transgender service

members, blocking “ship off” assignments, and ordering transgender service members to revert to

serving in their birth sex—something Plaintiffs in this case cannot do.             For example, the

Department of Navy’s Decision Guidance Memorandum #N00-30, issued January 28, 2025, states

that “[a]pplicants who self-identify as transgender are not eligible to process for enlistment at this

time” and that “any Future Sailors currently in the DEP who are identified as transgender will have

their ship dates postponed pending further DoD guidance.” Wardenski Decl. Ex Q, ECF No. 14-

2 at 1.



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       The Order is extreme. Unlike the Mattis Plan, which included a limited exception for

transgender individuals who had already transitioned in reliance on the prior policy, the current

Order provides no such protection for currently serving transgender service members who relied

on the Carter and Austin policies to transition in service. The current Order’s restrictions on

pronouns, berthing, and facilities have no connection to medical considerations. And the Order

openly disparages transgender people, falsely labeling them as inherently dishonest,

untrustworthy, undisciplined, and selfish.

       E.      DOD Implementation of the Second Ban

       On February 26, 2025, the Department of Defense issued a memorandum titled,

“Additional Guidance on Prioritizing Military Excellence and Readiness,” which ends transgender

people’s ability to serve in the military. Office of the Secretary of Defense, Additional Guidance

on Prioritizing Military Excellence and Readiness (Feb.             26, 2025), ECF No. 63-1 (the

“Implementing Guidance”). The Implementing Guidance carries out the direction of the President

to the Department of Defense in the challenged Executive Orders. Id. at 1. It sets a 30-day period

for the military to identify transgender people in service and then sets a 30-day period for the

initiation of administrative separation proceedings. Id. at 5.

       The Implementing Guidance declares that “the medical, surgical, and mental health

constraints on individuals who have a current diagnosis or history of, or exhibit symptoms

consistent with, gender dysphoria are incompatible with the high mental and physical standards

necessary for military service,” directly reversing previous policies that allowed transgender

service members to transition and serve in a different sex than their birth sex. Id. at 1. Specifically,

it reverses: (1) “DoDI 1300.28, ‘In-Service Transition for Transgender Service Members,’ April

30, 2021,” (2) “Defense Health Agency Procedural Instruction 6025.21, ‘Guidance for Gender-

Affirming Health Care of Transgender and Gender-Diverse Active and Reserve Component
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Service Members,’ May 12, 2023,” (3) “Acting Assistant Secretary of Defense for Health Affairs

Memorandum, ‘Guidance for Treatment of Gender Dysphoria for Active and Reserve Component

Service Member,’ July 29, 2016,” and (4) “Principal Deputy Assistant Secretary of Defense for

Health Affairs Memorandum, ‘Guidance for Medical Care in Military Treatment Facilities for

Service Members Diagnosed with Gender Dysphoria,’ March 18, 2019.” Id. at 2.

       Section 1.f. states that the Department is adopting the same definitions of sex set forth in

Executive Order 14,168, which define sex as fixed at birth for the express purpose of excluding

transgender people from military service. Id. at 3. Section 1.g. reinforces the exclusion of

transgender service members by requiring that all military standards related to “medical fitness for

duty, physical fitness and body fat standards; berthing, bathroom, and shower facilities; and

uniform and grooming standards” will be based on birth sex. Id.

       The operative provisions for establishing that a transgender person will be subject to

administrative separation are set forth in Sections 4.1 and 4.3. Section 4.1 sets forth the terms of

excluding transgender people from service by revising the standards for enlistment to exclude

them. Id. at 6. Section 4.3 sets forth the terms of excluding transgender people from service by

revising retention standards to exclude them. Id. at 8.

       The accessions provisions, Section 4.1, purports to create a potential “waiver,” but no

transgender person would be able to use it because it is unavailable to anyone who has transitioned

or ever seeks to transition. Decl. of Martha Soper ¶ 15. A “waiver” that requires a transgender

person to serve in their birth sex is a waiver only for people who can prove they are not actually

transgender. 2d Supp. Decl. of Alex Wagner (“2d Supp. Wagner Decl.”); Supp. Decl. of Yvette

Bourcicot (“Supp. Bourcicot Decl.”) ¶¶ 3-5.




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       Similarly, the retention “waiver” in Section 4.3c is unavailable to any transgender person.

It excludes anyone with “a current diagnosis or history of . . . gender dysphoria,” anyone showing

“symptoms consistent with gender dysphoria” (§ 4.3(a)), anyone with “a history of cross-sex

hormone therapy or sex reassignment surgery” (§ 4.3(b)), and anyone who has “attempted to

transition” (§ 4.3(c)(2))—disqualifying all Plaintiffs. It further requires “36 consecutive months

of stability in the Service member’s” birth sex without clinically significant distress (§ 4.3(c)(1)),

which Dr. Brown explains is medically impossible for people with gender dysphoria. Secretary

of Defense Memo at 8. The waiver thus only benefits people mistakenly identified as transgender.

Supp. Brown Decl. ¶¶ 24–25.

       Section 4.4 states that any troops identified by the procedures set forth in the February 26

memo who “are not granted a waiver pursuant to Section 4.3 . . . will be processed for

administrative separation.” Secretary of Defense Memo at 8. Under Section 4.4(a)(1), no such

troops are eligible for review by the common process for medical evaluation, the Disability

Evaluation System (DES), which would provide service members with more protection. Id.; see

2d Supp. Wagner Decl. ¶¶ 5-7.

        The rest of the memorandum principally establishes a financial incentive for transgender

service members to voluntarily separate. Transgender service members must select voluntary

separation within a very short period, 30 days from the issuance of the guidance, in order to obtain

the financial incentives. Secretary of Defense Memo at 9.

       This represents an unprecedented approach to removing a specific group of service

members from the military.

       The memorandum also terminates all medical care related to gender transition. Section 1.j.

states that “No funds from the Department of Defense will be used to pay for Service members’



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unscheduled, scheduled, or planned medical procedures associated with facilitating sex

reassignment surgery, genital reconstruction surgery as treatment for gender dysphoria, or newly

initiated cross-sex hormone therapy.”      Id. at 4.    Section 4.2.b. further specifies that “All

unscheduled, scheduled, or planned surgical procedures associated with facilitating sex

reassignment for Service members diagnosed with gender dysphoria are cancelled.” Id. at 7. No

other medical condition exists for which service members are prohibited from receiving the only

known and established means of treatment. See Supp. Decl. of Shawn Skelly (“Supp. Skelly

Decl.”) ¶ 12.

       F.       Plaintiffs’ Military Service

       The sixteen plaintiffs in this action embody the highest ideals of military service—

dedication to country, selfless commitment to duty, and excellence in their respective roles. For

these service members and prospective recruits, military service represents not merely a career,

but a calling and a profound expression of their desire to protect and defend the United States.

These plaintiffs have built lives dedicated to military service. Master Sergeant Jamie Hash of the

Air Force serves at the Pentagon as a highly competitive Defense Legislative Fellow for Congress,

a prestigious position that selects only a handful of enlisted Air Force applicants each year. Hash

Decl., ECF No. 13-37 ¶¶ 1, 3. Major Erica Vandal has devoted fourteen years to Army service,

earning a Bronze Star for heroism. Vandal Decl., ECF No. 13-33 ¶¶ 1, 9. Sergeant First Class

Kate Cole has dedicated nearly seventeen years to the Army, now training the next generation of

officers through ROTC at UCLA. Cole Decl., ECF No. 13-34 ¶¶ 1–2. These plaintiffs have

structured their entire adult lives around their commitment to military service.

       For others, military service represents a family tradition and deeply personal calling.

Prospective enlistee Koda Nature comes from a family with a legacy of military service stretching

back generations and seeks to continue this tradition of service. Decl. of Koda Nature (“Nature
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Decl.”), ECF No. 13-38 ¶ 2. Cael Neary has wanted to join the military since he was a teenager,

inspired by his grandfather’s service during World War II. Decl. of Cael Neary (“Neary Decl.”),

ECF No. 13-39 ¶ 2. His desire to meaningfully serve his country has persisted into adulthood,

leading him to actively pursue enlistment despite previous barriers. Id. ¶¶ 3–9.

       Each plaintiff has demonstrated exceptional commitment to meeting and exceeding

military standards. Second Lieutenant Nicolas Talbott was named Honor Graduate during basic

training for going “above and beyond” and “stepping up to leadership roles.” Decl. of Nicholas

Talbott (“Talbott Decl.”), ECF No. 13-32 ¶ 5. Clayton McCallister spent over a year in specialized

training to meet the extraordinarily demanding standards for Pararescue, one of the military’s most

physically challenging roles. Decl. of Clayton McCallister (“McCallister Decl.”), ECF No. 51 ¶

5. Ensign Dany Danridge ranks in the top ten percent of his Naval Flight Officer training class.

Decl. of Dany Danridge (“Danridge Decl.”), ECF No. 13-36 ¶ 5. Master Sergeant Amiah Sale’s

command recommended her for a Meritorious Service Medal, specifically noting her work as a

subject matter expert helping other transgender service members return more rapidly to deployable

status, directly enhancing unit readiness. Supp. Decl. of Amiah Sale (“Supp. Sale Decl.”) ¶ 6.

       The Armed Forces have invested heavily in developing these service members’ specialized

skills and leadership abilities. Major Minerva Bettis, a graduate of both the Air Force Academy

and Air Force Weapons School, instructs at the Weapons School, training others to become

weapons officers. Decl. of Minerva Bettis (“Bettis Decl.”), ECF No. 48-1 ¶ 3. Captain Gordon

Herrero is completing a master’s degree specifically to serve as an instructor at West Point.

Herrero Decl. ¶ 2–3; Supp. Decl. of Gordon Herrero (“Supp. Herrero Decl.”), ECF No. 48-23 ¶ 7.

Staff Sergeant Roan Pickett serves in the Army’s Criminal Investigations Division. Decl. of Roan

Pickett (“Picket Decl.”), ECF No. 48-16 ¶ 1. These plaintiffs represent not just dedicated service



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members, but repositories of specialized knowledge and training that the military has spent years

cultivating.

       The opportunity to serve in the armed forces represents a unique form of national service

that has no civilian equivalent. Plaintiff Clayton McCallister has spent over a year preparing for

the extraordinarily demanding role of Pararescue, only to have his ship-out date placed on

indefinite hold just days after signing his contract. McCallister Decl., ECF. No. 51 ¶¶ 5, 8, 11.

Plaintiff Greyson Shishkina, who enlisted to become a Hospital Corpsman, faces similar

uncertainty after his ship-out date was postponed with his recruiting chief informing him that the

delay was to determine whether he would be allowed to serve at all. Decl. of Greyson Shishkina

(“Shishkina Decl.”), ECF No. 50 ¶¶ 7, 12. These plaintiffs face the imminent loss of the

opportunity to serve their country in roles for which they have demonstrated qualification and

dedicated significant preparation.

       For plaintiffs already serving, the Executive Orders threaten to abruptly end careers to

which they have dedicated their lives. Captain Gordon Herrero faces the loss of a career-making

opportunity to teach at West Point, despite his exceptional qualifications and the Army’s

investment in his specialized graduate education. Herrero Decl., ECF No. 13-35 ¶¶ 2–3; Supp.

Herrero Decl., ECF No. 13-35 ¶¶ 7–9. Lieutenant Talbott stands to lose the career he fought for

years to join, just after finally earning his commission. Talbott Decl., ECF No. 13-32 ¶¶ 4–6.

       The Order and Implementing Guidance also subject transgender service members to

disparate and demeaning terms of service imposed on no other group or individual service

members. The requirements to serve in their birth sex, to use pronouns that do not match who they

are, for transgender men to be made to bunk with women and transgender women to be made to

bunk with men, and for all to be denied essential medical care routinely provided to others in



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service, disrupts and interferes with their ability to serve. See, e.g., Supp. Decl. of Jamie Hash

(“Supp. Hash Decl.”), ECF No. 48-22 ¶¶ 3–4; Supp. Herrero Decl. ¶¶ 3–4; Supp. Decl. of Miriam

Perelson (“Supp. Perelson Decl.”), ECF No. 48-24 at ¶ 15; Supp. Decl. of Erica Vandal (“Supp.

Vandal Decl.”), ECF No. 48-25 at ¶¶ 6–7.

         Private First Class Miriam Perelson’s experience vividly illustrates this disparity. On

January 31, 2025, an NCO informed Private Perelson she could no longer continue basic training

in female living bays or use female latrines. Decl. of Miriam Perelson (“Perelson Decl.”), ECF

No. 14-5 ¶ 7. The following day, she was presented with a Developmental Counseling Form

requiring her to either agree to “live in male bays, utilize male latrines, and be partnered with a

male battle buddy” or face administrative separation. Id. ¶¶ 8–11. When she refused to select

either option, she was told Command would immediately begin her separation from the Army. Id.

¶ 14.

         Despite assurances that “no separation or adverse actions [were] pending,” Decl. of

Lieutenant Colonel Jonathan S. Baker, ECF No. 19-1 ¶ 5, Private Perelson was housed separately

from her female unit until February 8, then subjected to transfers between three different

companies within just ten days, purportedly due to “complaints” that only emerged after the

Executive Orders. Supp. Perelson Decl., ECF No. 48-24 ¶¶ 5–14. This pattern of singling out

Private Perelson for unique assignments and transfers stems directly from the challenged Orders

and has subjected her to disparate and hostile terms of service because she is transgender.

         The requirement to serve in their birth sex subjects all transgender service members to

similarly impossible conditions. Lieutenant Talbott, Captain Herrero, Ensign Danridge, and Staff

Sergeant Pickett are men who have lived and served as men for years. Talbott Decl., ECF No. 13-

32 ¶¶ 9–17; Herrero Decl., ECF No. 13-35 ¶¶ 10–16; Danridge Decl., ECF No. 13-36 ¶¶ 17–25;



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Pickett Decl., ECF No. 48-16 at ¶¶ 1–2. They adhere to male grooming standards, use men’s

facilities, and are recognized as men by their colleagues and commanders. See, e.g., Supp. Herrero

Decl., ECF. NO. 48-23 ¶¶ 3–4. Being forced to serve as women would create extraordinary

disruption, confusion, and humiliation. See id. Similarly, Major Vandal, Sergeant Cole, Master

Sergeant Hash, and Sergeant Sale are women who have served with distinction in that capacity.

Vandal Decl., ECF No. 13-33 ¶¶ 12–17; Cole Decl., ECF No. 13-34 ¶¶ 14–19; Hash Decl., ECF

No. 13-37 ¶¶ 12–20; Sale Decl., ECF No. 48-18 ¶¶ 5–6. Their commanders have supported their

service and confirmed that their transgender status has had no negative impact on their ability to

serve effectively. See, e.g., Vandal Decl., ECF No. 13-33 ¶ 17; Herrero Decl., ECF No. 13-35

¶ 16; Sale Supp. Decl. ¶¶ 4-6. To require transgender women to serve as men and transgender

men to serve as women is to deny them the ability to serve at all. See, e.g., Supp. Hash Decl., ECF

No. 48-2 ¶¶ 3–4; Supp. Herrero Decl., ECF No. 48-23 ¶¶ 3–4; Supp. Perelson Decl., ECF No. 48-

24 ¶ 15; Supp. Vandal Decl., ECF No. 48-25 ¶¶ 6–7. It undermines their ability to do their job

and subjects them to treatment to which no other service members are subjected.

       For the plaintiffs, the impact of being made to serve in their birth sex is profound and

irreparable. Each plaintiff has stated a variation of the same truth: “It is not possible for [them] to

serve in the military as [their birth sex], which [they] are not.” Plfs’ 3d Am. Compl., ECF No. 69

¶ 32. As Lieutenant Talbott’s statement makes clear: “It would be extraordinarily disruptive for

him to use women’s restrooms and showers, sleep in women’s berthing units, or otherwise access

sex-segregated facilities for women. Supp. Decl. of Nicolas Talbott (“Supp. Talbott Decl.”) ¶ 6.

If others were required to refer to him by female pronouns or address him as ‘Ma’am,’ it would

cause confusion and disruption, negatively impacting his ability to effectively perform the duties




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of his job. Id. ¶ 7. In short, if he cannot serve as a man in the military, he cannot serve at all.” Id.

at 9. The same is true for all of the 16 Plaintiffs before this Court.

        The Executive Orders and the Department of Defense Guidances issued thereunder also

deny transgender service members medically necessary care because they are transgender.

Secretary of Defense, Mem. for Senior Pentagon Leadership (Feb. 7, 2025), ECF No. 33-1. No

other group of service members is denied treatment deemed medically necessary by military

healthcare providers.

       The human impact of this disparate treatment, including the denial of medical care, is stark.

On February 5, 2025, Petty Officer Audrie Graham arrived for scheduled surgery that his military

medical team had deemed necessary. Decl. of Audrie Graham (“Graham Decl.”), ECF No. 48-3

¶¶ 7–8. After changing into a surgical gown, having an IV inserted, and being administered nerve

blockers and sedatives, he was informed that the surgery could not proceed due to the Executive

Order. Id. ¶¶ 9–10. Staff Sergeant Roan Pickett, who developed a post-operative complication

resulting from a military approved and provided surgery, had his January 30 surgery canceled

while en route to the military medical facility. Pickett Decl., ECF No. 48-16 ¶¶ 6–26. Major

Minerva Bettis’s February 11 military-approved surgery was canceled on February 5. Bettis Decl.,

ECF No. 48-1 ¶¶ 7–10. Master Sergeant Amiah Sale’s February 21 surgery was canceled on

February 10. Sale Decl., ECF No. 48-18 ¶ 10.

                                            ARGUMENT

        This Court should enjoin the Order and Implementing Guidance barring transgender

military service because they violate Plaintiffs’ Fifth Amendment equal protection rights, causing

serious, irreparable harm that will continue without Court intervention. This Court should also

enjoin the Order and Implementing Guidance because the military should be estopped from

separating transgender service members who transitioned under military policies that explicitly
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authorized their steps to transition, making it fundamentally unjust to now cite their compliance

with authorized medical protocols and standards as grounds for administrative separation.

Plaintiffs have satisfied the standard for obtaining a preliminary injunction here, as they have

established: (1) that they are likely to succeed on the merits, (2) that they are likely to suffer

irreparable harm in the absence of preliminary relief, (3) that the balance of equities tips in their

favor, and (4) that an injunction is in the public interest. Aamer v. Obama, 742 F.3d 1023, 1038

(D.C. Cir. 2014) (quoting Sherley v. Sebelius, 644 F.3d 388, 392 (D.C. Cir. 2011)).

I.     PLAINTIFFS’ CLAIMS ARE RIPE

       At this late juncture, where, as Defendants admit, the policies authorizing transgender

members to serve have been rescinded and Defendants are actively taking steps to enforce the

directives in the Implementation Guidance, there can be no real question that this case is ripe for

review. These circumstances easily meet the two-part test for ripeness under Abbott Laboratories

v. Gardner, 387 U.S. 136, 149 (1967) (“requiring [a court] to evaluate both the fitness of the issue

for judicial decision and the hardship to the parties of withholding court consideration”). Plaintiffs

and other transgender service members face immediate violation of their constitutional rights and

loss of their military careers—“irremediable adverse consequences [that will] flow from requiring

a later challenge.” Toilet Goods Ass’n, Inc. v. Gardner, 387 U.S. 158, 164 (1967).

       The Implementation Guidance explicitly states that its policy guidance “is effective

immediately.” ECF 63-1 at 1. The policy guidance then declares, echoing the Order’s policy

directive, that “[i]t is the policy of the United States Government to establish high standards for

Service member readiness, lethality, cohesion, honesty, humility, uniformity, and integrity,” and

that “individuals with gender dysphoria or who have a current diagnosis or history of, or exhibit

symptoms consistent with, gender dysphoria,” cannot serve under this policy. Id. at 3. The



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Implementation Guidance requires separation of “Service members who have a current diagnosis

or history of, or exhibit symptoms consistent with, gender dysphoria,” id., and, even before their

separation, precludes their service as transgender persons: requiring, for example, that transgender

service members use the facilities and pronouns applicable to their birth sex, and depriving them

of medically necessary care, id. at 1–2. A challenge to government action is ripe when the program

“is quite clearly set forth” and the court is “asked to decide whether its adoption was

constitutional.” Abbott Labs, 387 U.S. at 149. Although the DoD issued a memorandum entitled

“Clarifying Guidance on Prioritizing Military Excellence and Readiness” on February 28, 2025

advising DoD personnel to “take no action to identify Service members pursuant to the

attachment” while the Secretaries of the Military Departments work to establish procedures for

identifying transgender service members for separation, see ECF 65-1 at 3, this clarifying guidance

does not pause the implementation of policies that require transgender people to serve in their birth

sex and mandate their separation.

       The Implementation Guidance’s suggestion that the ban can be “waive[d]” for certain

service members does not defeat ripeness.            The purported “waiver,” which Defendants

disingenuously cite as a reason they “do not know whether the DoD policy . . . would require

Plaintiffs be separated,” see ECF 66 at 3, is unavailable to transgender persons such as Plaintiffs.

As described in their declarations, each of the Plaintiffs currently serving has “attempted to

transition” and is living according to their gender identity, rather than “their birth sex.” See, e.g.,

Supp. Talbott Decl. ¶ 8; Wolf Decl. ¶ 21; 2d Supp. Herrero Decl. ¶ 8; Supp. Tyson Decl. ¶ 6.

Likewise, the accession Plaintiffs are “disqualified for military service” because they, at the very

least, “exhibit symptoms consistent with[] gender dysphoria,” and are ineligible for a waiver




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because, as transgender persons, they do not live according to “the applicant’s sex.” See ECF 63-

1 at 4–5.

       The Implementation Guidance is clear that every transgender service member will be put

into administrative separation, which makes this claim. See, e.g., Axon Enter., Inc. v. Fed. Trade

Comm’n, 598 U.S. 175, 191 (2023) (finding that being subjected to an illegitimate proceeding

constitutes a “here-and-now injury” that is “impossible to remedy once the proceeding is over”

sufficient to render challenge reviewable). Although Defendants claim they “cannot prejudge” the

outcome of these proceedings and concede only that “retention is unlikely,” see ECF 66 at 5, the

Implementation Guidance provides no path beyond speculation about purely discretionary relief

that Plaintiffs could continue to serve. See, e.g., Nat. Res. Def. Council, Inc. v. U.S.E.P.A., 859

F.2d 156, 168 (D.C. Cir. 1988) (finding claims ripe despite agency’s qualification that it may not

exercise its authority to impose conditions outlined in regulations); Chamber of Com. of U.S. v.

Reich, 57 F.3d 1099, 1100 (D.C. Cir. 1995) (finding facial challenge to executive order ripe even

where the order gave the agency discretion to exempt certain individuals from the general rule).

Plaintiffs do not need to await the even greater injury of ultimate separation to vindicate their

constitutional rights. See Toilet Goods Ass’n, 387 U.S. at 164.

II.    ADMINISTRATIVE EXHAUSTION DOES NOT APPLY TO THIS CASE

       Plaintiffs need not undergo administrative separation proceedings or exhaust

administrative   remedies    before   challenging    the   facially   unconstitutional   Order   and

Implementation Guidance. Administrative exhaustion does not apply where “the gravamen of the

plaintiffs’ claims revolves around constitutional challenges” because “[r]esolving a claim founded

solely upon a constitutional right is singularly suited to a judicial forum and clearly inappropriate

to an administrative board.” Adair v. England, 183 F. Supp. 2d 31, 55 (D.D.C. 2002), aff’d sub



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nom. In re Navy Chaplaincy, No. 19-5204, 2020 WL 11568892 (D.C. Cir. Nov. 6, 2020); Comm.

for GI Rts. v. Callaway, 518 F.2d 466, 474 (D.C. Cir. 1975).

        Plaintiffs likewise are not required to exhaust administrative remedies because doing so

would be futile. Although Defendants claim they “cannot prejudge” administrative outcomes (see

ECF 66 at 5), this position contradicts the policy’s plain terms.

III.    PLAINTIFFS ARE LIKELY TO SUCCEED ON THE MERITS OF THEIR EQUAL
        PROTECTION CLAIMS AS ALLEGED IN COUNTS I-III OF THE THIRD
        AMENDED COMPLAINT

        “The liberty protected by the Fifth Amendment’s Due Process Clause contains within it

the prohibition against denying to any person the equal protection of the laws.” United States v.

Windsor, 570 U.S. 744, 774 (2013). Under settled law, even where a policy does not otherwise

warrant heightened scrutiny, a policy based on animus violates equal protection because it lacks a

legitimate governmental purpose. See Dep’t of Homeland Security v. Regents of the University of

California, 591 U.S. 1, 34 (2020) (citing Arlington Heights v. Metropolitan Hous. Dev. Corp., 429

U.S. 252, 266 (1977)). In addition, a plaintiff may show an equal protection violation where “the

government has expressly classified individuals” based on race, sex, or other suspect factors.

Rothe Dev., Inc. v. United States Dep’t of Def., 836 F.3d 57, 63 (D.C. Cir. 2016) (citing Parents

Involved in Cmty. Sch. v. Seattle Sch. Dist. No. 1, 551 U.S. 701, 712-720 (2007)). Even in the

absence of showing a law classifies on its face, a plaintiff may demonstrate a violation of equal

protection where a government policy has a “disproportionate impact and [Defendants] are

motivated by a . . . discriminatory purpose.” Id. (quoting Adarand Constructors, Inc. v. Peña, 515

U.S. 200, 213 (1995)).

        The Order and Implementing Guidance fail constitutional scrutiny for all these reasons.

First, their plain language and the circumstances of their issuance clearly show they were adopted

to effectuate “a bare . . . desire to harm a politically unpopular group,” which is never a legitimate
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governmental objective. U.S. Dep’t of Agric. v. Moreno, 413 U.S. 528, 534 (1973). Second, they

facially classify service members based on sex and transgender status—classifications requiring

heightened scrutiny which the policy cannot withstand. Third, even if viewed as merely having

disparate effects on transgender personnel, the record amply demonstrates they were adopted for

a discriminatory purpose and therefore fail equal protection review.

        A.      The Order and Implementing Guidance Are Motivated by Unconstitutional
                Animus and, But for Animus, Would Not Have Been Enacted

        Under any level of scrutiny, government action violates equal protection when its

“discontinu[ity] with the reasons offered for it” renders it “inexplicable by anything but animus

toward the class it affects.” See, e.g., Romer, 517 U.S. at 632; U.S. Dep’t of Agric. v. Moreno, 413

U.S. 528, 534 (1973) (“[I]f the constitutional conception of ‘equal protection of the laws’ means

anything, it must at the very least mean that a bare . . . desire to harm a politically unpopular group

cannot constitute a legitimate governmental interest.”).          Under this longstanding doctrine,

Plaintiffs need only show that animus was “a motivating factor,” not the sole or even primary

factor. See Arlington Heights, 429 U.S. at 265–66 (“When there is a proof that a discriminatory

purpose has been a motivating factor in the decision, . . . judicial deference is no longer justified.”).

Once that threshold showing has been made, the burden shifts to the government to show that it

would have enacted the challenged policy even if animus were not a factor, which it cannot do

here. Id.; see also Doe v. Ladapo, 737 F. Supp. 3d 1240, 1273 (N.D. Fla. 2024) (“a showing of

impermissible motive undermines the presumption of good faith ordinarily afforded legislation”).

        The Order and Implementing Guidance clearly demonstrate unconstitutional animus.

Issued abruptly amid several orders targeting transgender people, the ban reverses a carefully

developed policy that was based on extensive study, including the comprehensive Rand Institute

report. The Order provides no evidence of problems with transgender service, ignores the


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successful service of thousands of transgender personnel since 2015, and contains openly

derogatory language—characterizing transgender identity as “false” and incompatible with an

“honorable, truthful, and disciplined lifestyle” and with “humility and selflessness.” It falsely

conflates transgender identity with unrelated conditions like bipolar and eating disorders, implies

without evidence that transgender healthcare causes “excessive time lost from duty,” and

contradicts the military’s own prior findings that transgender service does not harm readiness.

       The Implementing Guidance intensifies the targeting of transgender people. It portrays

transgender identity as delusional, defining gender identity as “a fully internal and subjective sense

of self, disconnected from biological reality and sex” that “does not provide a meaningful basis for

identification” (Glossary G2). Without evidence, it declares transgender service “incompatible

with military service” and “not in the best interests of the Military Services” (§ 1.c). The policy

falsely claims transgender individuals cannot meet military standards of “readiness, lethality,

cohesion, honesty, humility, uniformity, and integrity” (§ 1.b) and makes unsubstantiated claims

about “medical, surgical, and mental health constraints” that contradict both medical evidence and

transgender service members’ actual service records. It abruptly cancels existing inclusive

policies, terminates all transition-related healthcare, and requires identification and separation of

transgender service members within just 30 days. The policy reverses previous military leadership

determinations while citing no new evidence and completely disregards years of successful service

by transgender personnel, including those with exemplary records.

       The Implementing Guidance treats gender dysphoria unlike any other medical condition:

while others receive individual fitness evaluations, those with gender dysphoria face automatic

separation. Unprecedentedly, the policy uniquely uses “voluntary separation” to eliminate an

entire service member group and applies administrative separation (typically for misconduct) to



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individuals who are meeting standards and serving honorably. See 2d Supp. Wagner Decl. ¶¶ 4–

7; Supp. Skelly Decl. ¶ 13; 2d Supp. Cisneros Decl. ¶¶ 4, 5; Soper Decl. ¶ 12. In another highly

unusual procedure, it separates members based on a medical condition that would normally

undergo individualized assessment through the Disability Evaluation System. See 2d Supp.

Wagner Decl. ¶¶ 6–7; 2d Supp. Cisneros Decl. ¶¶ 6, 7; Soper Decl. ¶ 11. Defendants’ avoidance

of this system suggests the policy stems from anti-transgender animus rather than genuine medical

fitness concerns.

       The timing, context, and sweeping nature of the Order and Implementing Guidance

demonstrate that they reflect “negative attitudes,” “fear,” and “irrational prejudice” rather than

legitimate military needs. City of Cleburne v. Cleburne Living Ctr., 473 U.S. 432, 448, 450 (1985).

Multiple factors establish this impermissible animus.

       First, the Order’s text openly expresses hostility toward transgender individuals as a class,

declaring their identity a “falsehood” incompatible with military values of “honesty” and

“integrity.” Order at §§ 1, 2. The Implementing Guidance repeats and amplifies these group-

based negative characterizations, which are directly refuted by the distinguished and decorated

service of transgender service members in the record. Such overt expressions of animosity toward

a disfavored group—especially when proffered as an official explanation of government action—

are rare and warrant careful consideration by this Court. Cf. Romer, 517 U.S. at 633 (holding that

“laws singling out a certain class of citizens for disfavored legal status or general hardships are

rare” and warrant careful consideration for that reason). In this critical respect, the Order and

Implementing Guidance are nothing like the facially neutral policy challenged in Hawaii v. Trump.

Here, the government’s facial targeting of, and animosity toward, transgender people are apparent

on the face of the policy and expressly stated.



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       Second, the timing of the Order and Implementing Guidance suggest pretext rather than

military necessity, as does the highly unusual process by which they were developed and

promulgated. There was no urgency requiring this policy change; the only precipitating event was

the presidential election. The Order and Implementing Guidance disregard the military’s prior

extensive study supporting inclusion and cite no evidence of problems arising from four years (and

more, for some service members) of open service by thousands of transgender troops. See

Bourcicot Decl. ¶ 28; Skelly Decl. ¶¶ 16–17.

       The rollout of the new policies has been unusual as well. Rather than the careful and

orderly process by which most military policies are implemented, the implementation of this policy

has been chaotic, subjecting Plaintiffs and others to a constantly shifting landscape of conflicting

directives and actions. “It has been rolled out on an extremely expedited timeline that puts the

affected service members under enormous pressure to make life-altering decisions without

adequate time to seek counsel or reflect. It comes with no guidance on how units should adapt,

reconfigure, or adjust to the loss of a teammate performing an important role.” 2d Supp. Wagner

Decl. ¶ 12.

       Third, the Order is part of a broader pattern of targeted discrimination. From its first days,

this administration has moved to strip protections from transgender people across multiple

domains—including housing, social services, schools, sports, healthcare, employment,

international travel, and family life. See Exec. Order No. 14,168, 90 F.R. 8615. This context

reinforces that the ban reflects “a bare desire to harm a politically unpopular group,” which cannot

survive any level of scrutiny. Windsor, 570 U.S. at 770; see also Arlington Heights, 429 U.S. at

267 (“The historical background of the decision is one evidentiary source, particularly if it reveals

a series of official actions taken for invidious purposes.”).



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       Finally, the Supreme Court has repeatedly struck down laws that impose “a broad and

undifferentiated disability on a single named group,” particularly where the gap between the stated

justifications and actual effects shows the classification was drawn “for the purpose of

disadvantaging” the group. Romer, 517 U.S. at 632. The transgender military ban is precisely

such a measure.     Its sweeping exclusion of all transgender individuals regardless of their

demonstrated ability to serve, combined with its reliance on stereotypes and its emergence from a

context of broader discrimination, reveal it as unconstitutional animus that “the Equal Protection

Clause does not permit.” Id. at 634–35.

       In the face of this overwhelming evidence of animus, Defendants have made no serious

attempt, nor could they, to show that the government would have enacted this sweeping exclusion

if animus were not a factor. In lieu of such a showing, Defendants have done little more than grasp

at straws. In total, their “evidence” consists of an outdated report by former Secretary Mattis, two

more recent reports that expressly reach positive conclusions about continued service by

transgender people, and a belated and unsupported attempt to raise the issue of costs associated

with providing healthcare to transgender people. Wardenski Decl. Ex. V. None of these provide

even a shred of legitimate support for purging all transgender people from military service, much

less overcome the presumption of illegitimacy created by the obvious role of animus as a

motivating factor in the adoption of this policy.

       Transgender service members have been serving openly for the past four years and yet

Defendants can point to no contemporary evidence of any problems with their service, relying

instead on extremely limited and outdated data from a 2018 report by former Secretary Mattis that

was itself hastily compiled to supply an ex post facto justification for the transgender ban

precipitously imposed in 2017. As detailed in the supplemental declaration of Dr. George Brown,



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the 2018 Secretary of Defense Memorandum “is based largely on misconceptions about

transgender healthcare, the application of double standards to transgender service members, and

speculative concerns about potential problems with deployability.” Supp. Brown Decl. ¶ 29. “To

the extent it relied on any data about actual transgender service members, the data showed no basis

for concern.” Id.; see also id. ¶¶ 30–37 (explaining why data relied on by the Mattis Report does

not support any negative inferences about transgender service members); Wardenski Decl. Ex. S.

       Defendants also cite a 2021 analysis of data on transgender service members that expressly

concludes that transgender applicants who seek to join the military are “similar to the full military

applicant pool” and that “rates of adverse attrition and existing service prior to service (EPTS)

discharge among TG members were similar to the total force.” Wardenski Decl. Ex. W. While

finding that rates of disability evaluation were estimated to be higher among transgender service

members, the review offers no adverse explanation of that finding, and the most likely explanation,

as explained by Dr. Brown, is that prior research has shown that “transgender service members are

likely to volunteer for and participate in high-risk combat activities and are therefore more likely

to suffer combat-related injuries such as PTSD and traumatic brain injury than a matched cohort

of cisgender Veterans.” Supp. Brown Decl. ¶ 41. The 2021 analysis also found that transgender

service members were more deployable than a matched cohort of service members with a diagnosis

of depression, and confirmed that hormone therapy had no impact in their deployability.

Wardenski Decl. Ex. W. Nothing in this analysis supports excluding all transgender people from

service, especially as transgender applicants and troops must meet the same accession and

retention standards, including those relating to deployability, as others. Supp. Brown Decl. ¶¶ 51–

63.




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         Defendants cite a 2025 medical literature review that similarly found no evidence to

support barring transgender people from military service and reached no negative conclusions

about their service. The review confirmed that “[r]esearch findings consistently show . . . the

benefits of gender-affirming care.” Wardenski Decl. Ex. X. It found that while transgender people

as a group have higher rates of suicidality, that is due not to any inherent pathology but rather to

“discrimination, lack of family and social support, barriers to gender-affirming care, co-occurring

mental health conditions, economic instability, and experiences of violence or victimization.”

Wardenski Decl. Ex. X. The review found that “[r]esearch demonstrates that suicide risk among

transgender and gender-diverse (TGD) individuals is mitigated by access to gender-affirming care,

strong social and family support, legal and social recognition, affirming mental health services,

community connectedness, and protections against discrimination.” Wardenski Decl. Ex. X.

These findings support the military’s existing policy of treating transgender people equally and

permitting them to serve so long as they meet the same standards as others. Supp. Brown Decl. ¶¶

51–63.

         Finally, Defendants note, without more, that DoD spent slightly more than 52 million

dollars providing medical care to treat gender dysphoria over a period of nearly ten years, from

2015 to 2024. Wardenski Decl. Ex. V. As military declarants have explained that figure is

miniscule compared both to the overall health budget and to the much higher costs of many other

types of commonly provided care. See, e.g., Supp. Brown Decl. ¶ 64; 2d Supp. Cisneros Decl. ¶¶

11–14. Moreover, Defendants already provide the same medical services to non-transgender

troops. Supp. Brown Decl. ¶ 65. As such, Defendants’ attempted reliance on this factor serves

rather to reinforce than to mitigate the inescapable inference that but for animus, this policy would

never have been enacted. See Plyler v. Doe, 457 U.S. 202, 227 (1982).



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      B.      The Order and Implementing Guidance Warrant Heightened Scrutiny
              Because They Facially Classify Based on Sex and Transgender Status and
              Mandate Disparate Treatment of Transgender Service Members.

       By singling out transgender people for differential treatment, the                Order and

Implementing Guidance facially classify based on sex and transgender status in multiple ways:

       •   First, they facially bar transgender people from military service by declaring that
           “adoption of a gender identity inconsistent with an individual’s [birth] sex” renders a
           person unfit to serve. Order § 1. The Order and Implementing Guidance are replete
           with statements rejecting transgender people in the military, including that, “An
           individual’s sex is immutable, unchanging during a person’s life,” Guidance § 1.(f),
           and that “a man’s assertion that he is a woman,” Order § 1, is not consistent with
           military values. See also Gender Ideology Order § 1.

       •   Second, they impose conditions on military service that facially discriminate against
           transgender individuals by excluding anyone who has gone through gender transition
           or even “attempted to transition,” Guidance § 4.3(c)(2), and by requiring them to
           serve, if at all, only by suppressing their transgender identity and serving in their birth
           sex. These include provisions concerning the use of pronouns, housing, and facilities
           and the denial of transition-related medical care.

       •   Third, they expressly classify based on sex and transgender status by incorporating a
           sweeping federal definition of “sex” as based on an “immutable biological
           classification” at “conception”—a definition adopted for the first time across all
           federal law and with the avowed purpose and intended effect of eradicating all federal
           legal recognition of transgender people. By incorporating this definition, Defendants’
           policies seek to eradicate even the possibility of recognizing that transgender people
           exist and to purge them from military service. See Baker Decl. ¶ 24.

       By expressly targeting transgender people for disparate treatment in each of these ways,

the Order and Implementing Guidance create explicit sex-based classifications that require

application of heightened scrutiny. See United States v. Virginia (VMI), 518 U.S. 515, 555

(1996). They also independently warrant heightened scrutiny because they classify based on

transgender status, a characteristic that meets the traditional criteria for a quasi-suspect

classification. See Doe 1 v. Trump, 275 F. Supp. 3d 167, 208–09 (D.D.C. 2017). Because

Defendants can offer no “exceedingly persuasive” justification for the accession and retention




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policies’ facial targeting of transgender people, those policies fail the exacting demands of

heightened scrutiny. VMI, 518 U.S. at 533.

               1.       The Order and Guidance Facially Exclude Transgender People from
                        Military Service.

       The plain terms of the Order repeatedly state that being transgender is incompatible with

military service. The Order establishes a policy that transgender status is incompatible with “high

standards for troop readiness, lethality, cohesion, honesty, humility, uniformity, and integrity” and

bars transgender individuals from military service. 90 Fed. R. 8757 § 2. It declares as binding

government policy that “expressing a false ‘gender identity’ divergent from an individual’s [birth]

sex cannot satisfy the rigorous standards necessary for military service” and that “adoption of a

gender identity inconsistent with an individual’s [birth] sex conflicts with a soldier’s commitment

to an honorable, truthful, and disciplined lifestyle, even in one’s personal life.” Id. § 1. The Order

then restates this group-based exclusion a third time, providing that “[a] man’s assertion that he is

a woman, and his requirement that others honor this falsehood, is not consistent with the humility

and selflessness required of a service member.” Id. The Order declares the transgender status of

these service members as itself disqualifying on the facially discriminatory basis that a transgender

person cannot be “honorable” or “truthful” or demonstrate “the humility and selflessness required

of a service member.”

       The Implementing Guidance repeats and amplifies the Order’s denigration and exclusion

of transgender service members. Like the Order, the Guidance provides that military service by

transgender individuals is inconsistent with standards of “readiness, lethality, cohesion, honesty,

humility, uniformity, and integrity.” Guidance § 1(b). It directs that transgender individuals will

no longer be eligible for accession to military service, and that current transgender service




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members will be identified and then processed for administrative separation and dismissed from

service. Id. §§ 1(d), (e); 3.4(e), (f); 4.1(a), (b); 4.3(a), (b); 4.4(a).

        The Order and Implementing Guidance exclude transgender people from military service

through the use of various substantively equivalent terms: “expressing a false ‘gender identity,’”

“adoption of a gender identity inconsistent with an individual’s sex,” “a man’s assertion that he is

a woman,” “individuals with gender dysphoria,” “exhibit[ing] symptoms consistent with, gender

dysphoria,” “history of sex reassignment,” “pursuit of a sex transition,” and “attempt” at transition.

90 Fed. R. 8757 §§ 1, 2; Guidance §§ 1(b)–(e); 4.1(b); 4.3(b), (c)(2).

        The Order and Implementing Guidance have none of the features of the Mattis Plan that

led the D.C. Circuit, based on its limited review of that policy, to conclude that it differed from

the original 2017 ban. Doe 2 v. Shanahan, 755 F. App’x 19, 25 (D.C. Cir. 2019). Unlike the

Mattis Plan, the Order and Implementing Guidance contain no reliance exception allowing

transgender service members who began serving openly in reliance on earlier policies to continue

serving and receiving transition-related medical care. See id. at 24. Instead of permitting

continued service by Plaintiffs and other transgender service members who have served

honorably under the previous policy, the Implementing Guidance directs that they all be

processed for immediate separation.            An Air Force memorandum issued following the

Implementing Guidance announced that no exceptions to birth sex requirements are permitted,

effective upon issuance of the Implementing Guidance. See ECF No. 65.

        In addition, while the Mattis Plan purported to be based exclusively on medical

considerations, the Order and Implementing Guidance expressly state that transgender people are

inherently morally unfit and lack the character to serve, and they expressly bar transgender




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service as such by rejecting anyone who has gone through transition (living in a different sex)

and requiring all service members to live and serve in their birth sex.

               2.      The Order and Guidance Facially Discriminate Against Transgender
                       Service Members and Recruits by Imposing Conditions of Service that
                       Reject Anyone Who Has Transitioned and Requiring Them to Suppress
                       Their Transgender Identity and Serve in Their Birth Sex.

       The Order and Implementing Guidance facially discriminate against transgender service

members by subjecting them to discriminatory terms of service that require them to suppress or

deny their transgender identity, as well as by excluding anyone who has or would go through

gender transition and by denying transition-related medical care. The Order expressly commands

the military to require all transgender service members, including those who have completed

their transition, to use housing, bathing, and other facilities based on their birth sex rather than

their current sex as reflected in DEERS. See 90 Fed. R. § 4(d). Because of the Hobson’s Choice

this presents transgender service members, more recent guidance explains that the only way these

provisions can be reconciled is to put transgender service members on administrative leave

pending their separation following administrative separation proceedings. The Order also

requires that transgender service members be referred to (and refer to themselves) using pronouns

based on their birth sex rather than their current sex. See id. § 4(b).

       The Implementing Guidance parallels the Order by providing that “all Service members

will only serve in accordance with their [birth] sex and by requiring that standards related to

“medical fitness for duty, physical fitness and body fat standards; berthing, bathroom, and shower

facilities; and uniform and grooming standards,” as well as pronoun usage, will be based on birth

sex. Implementing Guidance § 1(f), (g), (h). The Order and Implementing Guidance further

provide that no transition-related medical care, including previously “scheduled, or planned”

care, will be provided to transgender service members, with a limited exception for hormone


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therapy for certain service members already receiving it until they are separated. Implementing

Guidance §§ 1(j), 4.2; see also Wardenski Decl. Ex. Y (“FAQ”). Numerous service members

had medical procedures cancelled, halting their ability to complete transition plans and subjecting

them to rescission of authorizations allowing them to serve other than in their birth sex. Bettis

Decl. ¶¶ 10–12; Graham Decl. ¶¶ 7–10; Pickett Decl. ¶¶ 6–24; Sale Decl. ¶ 10; Tyson Decl. ¶¶

7–12; Supp. Bettis Decl. ¶ 4; Supp. Tyson Decl. ¶ 4; Wolf Decl. ¶ 17.

       On their face, these provisions subject transgender service members to starkly disparate

treatment based on their sex and transgender status. Taken together, they compel transgender

service members to stop being transgender (an impossibility) for the brief time they may be able

to remain in military service before facing separation. Because transgender service members

clearly cannot do this, Defendants authorize command to place transgender service members on

administrative leave pending administrative separation proceedings. See, e.g., Supp. Danridge

Decl. ¶¶ 6–7; 2d Supp. Vandal Decl. ¶¶ 6–7; 2d Supp. Cole Decl. ¶¶ 6–7; 2d Supp. Hash Decl.

¶¶ 6–7. These provisions also ensure that, going forward, no transgender individuals will be

permitted to join the military, and service members who recognize they are transgender after

joining the service will either be discharged or forced to suppress and deny their transgender

identity for as long as they can. And for those who may try to do that, they will be separable

once they exhibit symptoms of gender dysphoria. Implementing Guidance §§ 4.3(a); 4.3(c)(1).

       In sum, by requiring all service members to identify and serve in their birth sex, the Order

and Implementing Guidance facially discriminate against transgender people and ensure they

cannot serve. As Plaintiffs’ expert witness Dr. George Brown explains, “a transgender person is

someone who lives in a different sex than their birth sex or would if able to.” Supp. Brown

Decl. ¶ 4. He continues: “The very core of being transgender necessarily involves a drive to



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alignment between one’s internal gender identity and one’s lived experience . . . It would be no

easier for a transgender man to live as a woman than for a non-transgender man to live as a

woman.” Id. at ¶ 5. As Dr. Brown explains, “the concept of gender identity inherently

encompasses how a person experiences and expresses that identity, including how they are seen

by others as someone who is a man or a woman.” Id. at ¶ 6. “Forcing transgender individuals

to suppress their gender identity and live according to their birth sex is not merely

uncomfortable—it is psychologically harmful and can lead to significant distress, depression,

and other serious mental health conditions.” Id. ¶ 10. “While some transgender individuals may

[suppress their gender identity] due to external constraints like prejudice or discrimination . . .

this does not represent a sustainable situation.” Id. ¶ 14.

       Recognizing this reality, many courts have held that laws and policies that single out

transgender individuals for disparate treatment like that required under the Order and

Implementing Guidance discriminate based on sex and transgender status. Courts have repeatedly

held, for example, that requiring transgender people to access shared facilities based only on their

birth sex rather than their current, post-transition sex impermissibly classifies based on sex and

transgender status. See, e.g., Grimm v. Gloucester Cnty. Sch. Bd., 972 F.3d 586, 608–13 (4th Cir.

2020); Whitaker v. Kenosha Unified Sch. Dist. No. 1 Bd. of Educ., 858 F.3d 1034, 1050–54 (7th

Cir. 2017). In Bostock v. Clayton County, the Supreme Court held that an employer’s termination

of a transgender woman because she could not comply with the employer’s requirement that she

present at work as male constituted discrimination based on sex. 590 U.S. 644, 654 (2020).

Similarly, the denial of medical care for gender transition facially discriminates because “[t]he

excluded treatments aim at addressing incongruity between sex assigned at birth and gender

identity, the very heart of transgender status.” Kadel v. Folwell, 100 F.4th 122, 146 (4th Cir. 2024);



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see also Doe v. Austin, No. 2:22-CV-00368-NT, 2024 WL 4653290, at *13 (D. Me. Nov. 1, 2024);

Brandt v. Rutledge, 677 F. Supp. 3d 877, 917–22 (E.D. Ark. 2023); Flack v. Wis. Dep’t of Health

Servs., 328 F. Supp. 3d 931, 951–53 (W.D. Wis. 2018).

       It is no answer to say that these provisions do not discriminate because they impose the

same requirement on all service members to serve only in their birth sex. As the Fourth Circuit

recognized in Kadel, “[t]his argument elides common sense and is inconsistent with Supreme

Court precedent about how to approach equal-protection analyses.” 100 F.4th 122, 147 (4th Cir.

2024). This is because “[t]he proper focus of constitutional inquiry is the group for whom the law

is a restriction, not the group for whom the law is irrelevant.” City of Los Angeles v. Patel, 576

U.S. 409, 418 (2015) (quotations omitted). The Supreme Court long ago rejected the argument

that a law or policy that classifies on a suspect basis such as race does not discriminate as long as

it applies equally to people of all races. See, e.g., Loving v. Virginia, 388 U.S. 1, 10 (1967).

Similarly, a policy that applies explicitly sex-based criteria is subject to intermediate scrutiny even

if it applies to equally to men and women. See J.E.B. v. Alabama ex rel. T.B., 511 U.S. 127, 146

(1994). Just as sex-based peremptory challenges were not saved from heightened scrutiny by the

fact that such challenges could be asserted against men as well as women, the fact that all service

members must serve in their birth sex does not insulate that facially sex-based restriction from

intermediate scrutiny under the equal protection component of the Due Process Clause of the Fifth

Amendment. The equal protection component is a guarantee that each individual is free of

disparate treatment based on a core, protected aspect of identity, regardless of how others are

treated. Id.

       Defendants also cannot avoid the facially discriminatory nature of these provisions by

arguing that transgender service members are not similarly situated to other service members.



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When government action facially discriminates, the Supreme Court has never required a showing

that the disadvantaged group is “similarly situated” to others “as a threshold hurdle.” Kadel, 100

F.4th at 155. The Court “has instead used the similarly situated inquiry to decide whether the

governmental interest for discrimination is justified.” Id. (citing Tuan Anh Nguyen v. INS, 533

U.S. 53, 62–68 (2001)). The “similarly situated” inquiry therefore is relevant only to determining

whether the discrimination can withstand constitutional scrutiny, not whether discrimination has

occurred in the first place. See id. In any event, transgender applicants and service members are

similarly situated to others in their ability to meet the same medical, readiness, and standards as

others, including the few areas in which sex-based standards apply. Transgender men meet the

same standards as other men, and transgender women meet the same standards as other women.

See, e.g., 2d Supp. Hash Decl. ¶ 4; Supp. Sale Decl. ¶4; 2d Supp. Herrero Decl. ¶ 4; Supp. Danridge

Decl. ¶ 4.

       Nor is it an answer to say that these provisions classify based on a medical condition—

gender dysphoria—rather than based on sex or transgender status. As an initial matter, the

restrictions that require transgender service members to serve only in their birth sex are not tethered

to a medical diagnosis at all. These include the requirements that access to housing and other

facilities, compliance with uniform and grooming standards, and pronoun usage be based on a

service member’s birth sex rather than their post-transition sex as reflected in DEERS. Those

requirements say nothing of a medical diagnosis. These also include changing every transgender

person’s DEERS marker to their birth sex, regardless of medical condition, history, or

circumstance. See FAQ at 4. These discriminatory terms are applied to all transgender service

members regardless of any current or past gender dysphoria diagnosis, and they do not claim to be

based on any medical justification. The Implementing Guidance simply requires Defendants to



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take steps to identify current transgender service members, change their military records to reflect

their birth sex, and ensure that they may serve only in their birth sex until such time as they are

processed for separation. See Guidance § 3.4.

       In addition, as many courts have held, the provisions of the Order and the Implementing

Guidance that draw lines based on a diagnosis, history, or symptoms of gender dysphoria also

facially classify and single out transgender servicemembers for disparate treatment. This is

because “gender dysphoria is so intimately related to transgender status as to be virtually

indistinguishable from it.” Kadel, 100 F.4th at 146; Doe v. Austin, 2024 WL 4653290, at *11–12

(concluding insurance coverage exclusion for “sex gender changes” facially discriminates based

on sex and transgender status and is subject to heightened scrutiny). It is also obvious from the

definition of the group to be identified for separation, which is not even limited to those with a

“current diagnosis or history of . . . gender dysphoria,” but includes anyone identified even who

“exhibit[s] symptoms consistent with” gender dysphoria. Guidance § 3.4(e). The Implementing

Guidance thus itself makes clear the goal—identify and separate everyone who is transgender by

identifying the broadest pool of anyone who might possibly be transgender. Then make anyone

identified prove they are not transgender. Guidance §§ 4.3(c)(1)–(3); see Supp. Bourcicot Decl.

¶¶ 3–8; Supp. Skelly Decl. ¶¶ 2–8; 2d Supp. Wagner Decl. ¶¶ 2–5.

       As Dr. Brown states, a transgender person is one who lives or seeks to live in a sex other

than their birth sex. See Supp. Brown Decl. ¶ 4. Defendants’ prohibition on medical care for

gender dysphoria targets transgender service members as a group because it bans medical care for

that very purpose: care that enables a transgender person to live in a sex other than their birth sex.

Moreover, the discrimination inherent in such a prohibition remains facially based on sex and

transgender status even though some transgender individuals may not receive a gender dysphoria



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diagnosis or obtain medical treatment for it. These provisions facially target service members

based on their transgender status because “gender dysphoria is simply the medical term relied on

to refer to the clinical distress that can result from transgender status.” Kadel, 100 F.4th at 146.1

               3.      The Order and Guidance Facially Discriminate Against Transgender
                       Service Members and Recruits by Incorporating a Definition of “Sex” that
                       Denies Legal Recognition to Transgender People and Requires Them to
                       Serve in their Birth Sex.

        For similar reasons, the Order and Implementing Guidance facially classify based on sex

and transgender status by incorporating definitions from the Gender Ideology Order that define

“sex” as “an individual’s immutable biological classification as either male or female” at birth,

90 Fed. Reg. 8615 § 2(a), and by applying those definitions to require transgender service

members to serve in their birth sex.

        The fact that these provisions purport to establish universal definitions of “male” and

“female” that apply across all departments and programs of the federal government serves only

to underscore that they facially target transgender people for differential treatment, consistent

with the administration’s stated goal of eliminating any legal recognition or protection of

transgender people in employment, healthcare, education, housing, sports, social services,

military service, and other arenas. The breadth of their application and the timing and context of

their issuance shows—as the administration has openly asserted—that they were adopted for the

express purpose of eliminating all legal recognition of transgender people across the entire



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   For this reason, cases such as Geduldig v. Aiello, 417 U.S. 484 (1974) and Dobbs v. Jackson
Women’s Health Org., 597 U.S. 215 (2022), do not apply here. Unlike the laws at issue in
Geduldig or Dobbs—which did not name women as targeted by the challenged laws—the disparate
treatment of transgender service members is expressly mandated on the face of the policies at
issue. See Kadel, 100 F.4th at 147 (exclusion of coverage for gender dysphoria care facially
discriminates based on sex because application of the exclusion “is impossible—literally cannot
be done—without inquiring into a patient’s sex assigned at birth and comparing it to their gender
identity”).
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federal government and federal law. Baker Decl. ¶¶ 13–15, 23–25. In this respect, the Gender

Ideology Order bears a striking resemblance to an earlier federal enactment—the Defense of

Marriage Act (DOMA)—which employed a similar approach of purporting to establish a uniform

federal definition of “marriage,” but the true purpose and effect of which was to deny federal

recognition to the marriages of same-sex couples. See id. ¶¶ 4–7.

       In Windsor, the Supreme Court recognized that the sweeping breadth and unusual

character of such an enactment belied any suggestion that it simply established a benign and

uniform definition, and the enactment was instead a class-based enactment designed to “impose

inequality” on legally married same-sex couples. 570 U.S. at 772. The Court noted that Congress

had not previously found it necessary to establish a federal definition of marriage but elected to

do so only in response to efforts by same-sex couples to seek the freedom to marry under state

law. See id. at 767–69. The same is true here where neither Congress nor the Executive has ever

before found it necessary to define sex for federal law purposes. The Executive has done so here,

for the first time in our Nation’s history, as part of a comprehensive effort to deny equal

protections of law for transgender people. See Baker Decl. ¶¶ 14–16, 23–25.

       The Windsor Court found that DOMA’s “unusual deviation” from past practice

demonstrated that its true purpose was “to impose a disadvantage, a separate status, and so a

stigma” on legally married same-sex couples. 570 U.S. at 770. Crucial to the Court’s holding

that DOMA violated equal protection was that the statute “[wrote] inequality into the entire

United States Code” through a “system-wide enactment with no identified connection to any

particular area of federal law.” Id. at 771; see also Romer, 517 U.S. at 632 (invalidating state

constitutional amendment that imposed “a broad and undifferentiated disability on a single

named group”).



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        In the same way as DOMA, the Gender Ideology Order breaks from tradition by

purporting to establish for the first time a federal definition of “sex.” See 90 Fed. Reg. 8615

§ 2(a). Both the text of the Gender Ideology Order and the context in which it was issued

demonstrate that it was adopted not to respond to any legitimate policy need, but “to identify a

subset of [persons]”—transgender people—“and make them unequal.” Windsor, 570 U.S. at

772. The Gender Ideology Order itself makes its purpose plain, stating that it was issued in order

to reverse legal protections that “permit men to self-identify as women” or reflect a “self-assessed

gender identity,” which it asserts is based on a “false claim that males can identify as and thus

become women and vice versa.” 90 Fed. Reg. 8615, §§ 1, 2(f). The Gender Ideology Order thus

labels transgender identity as a falsehood and sets forth a policy to eradicate legal recognition of

transgender people in “all Executive interpretation of and application of Federal law and

administration policy.” Id. § 2.

       As Dr. Baker explains, the context in which these definitions were adopted demonstrate

that they represent a “reaction to increasing social recognition of transgender individuals” rather

than an effort to enact a definition for legitimate policy reasons. Baker Decl. ¶ 21. This approach

is a “sharp break from . . . historical precedent and practice” and follows “a recognizable pattern

of using selective definitions to restrict rights when marginalized groups gain social visibility and

recognition.” Id. ¶ 24.

        In other cases, courts have readily found that similar definitions of sex facially

discriminate based on transgender status. See, e.g., Hecox v. Little, 104 F.4th 1061, 1078 (9th

Cir. 2024) (“The definition of ‘biological sex’ in the Act is written with seemingly neutral criteria

that are so closely associated with the disfavored group that discrimination on the basis of such

criteria is, constructively, facial discrimination against the disfavored group.” (quotation



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omitted)); Doe v. Horne, 115 F.4th 1083, 1105 (9th Cir. 2024) (similar); L.E. by Esquivel v. Lee,

728 F. Supp. 3d 806, 831 (M.D. Tenn. 2024); Tirrell v. Edelblut, No. 24-CV-251-LM-TSM,

2024 WL 4132435, at *7 (D.N.H. Sept. 10, 2024) (similar). As the Fourth Circuit has explained,

“[t]he undisputed purpose—and the only effect—of [such] definition[s] is to exclude transgender

[individuals] from the definition of [‘male’ or] ‘female’ and thus to exclude them . . . . That is a

facial classification based on gender identity.” B.P.J. v. W. Va. State Bd. of Educ., 98 F.4th 542,

556 (4th Cir. 2024).

       In sum, the Order and Implementing Guidance facially classify service members and

recruits based on their sex and transgender status, singling them out for immediate separation

and exclusion and requiring those in service to serve under discriminatory conditions until their

separation is completed.

               4.      Because the Order and Guidance Facially Classify Based on Sex and
                       Transgender Status, They Are Subject to Heightened Scrutiny.

       By expressly classifying—and discriminating against—service members based on

transgender status, the Order and Implementing Guidance inherently classify based on sex

because “it is impossible to discriminate against a person for being homosexual or transgender

without discriminating against that individual based on sex.” Bostock v. Clayton Cnty., 590 U.S.

644, 660 (2020). This District previously concluded in enjoining President Trump’s first military

ban that the transgender classification it created was a sex-based classification, requiring

heightened scrutiny under the equal protection component of the Fifth Amendment’s Due

Process Clause. See Doe 1, 275 F. Supp. 3d at 209; see also Whitman-Walker Clinic, Inc. v. U.S.

Dep’t of Health & Hum. Servs., 485 F. Supp. 3d 1, 39–40 (D.D.C. 2020). Multiple circuit courts

concur that classifications based on transgender status are inherently sex-based. See Fowler v.




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Stitt, 104 F.4th 770, 793 (10th Cir. 2024); Kadel, 100 F.4th at 153; Hecox, 104 F. 4th at 1074;

Whitaker, 858 F.3d at 1051.

       The Order also independently warrants heightened scrutiny because the class it targets—

transgender individuals—satisfies the criteria for at least a quasi-suspect classification. See Doe

1, 275 F. Supp. 3d at 208–09. First, “transgender individuals have immutable and distinguishing

characteristics that make them a discernable class.” Id. at 208. See also Plaintiffs’ Supp. Briefing

on Immutability, ECF No. 57; Supp. Brown Decl. ¶¶ 8–9. Second, “[a]s a class, transgender

individuals have suffered, and continue to suffer, severe persecution and discrimination.” Doe 1,

275 F. Supp. 3d at 208–09. Third, despite this history of discrimination, there is “no argument or

evidence suggesting that being transgender in any way limits one’s ability to contribute to society.”

Id. And finally, transgender people “represent a very small subset of society” and lack “the sort

of political power” that other groups might have “to protect themselves from discrimination.” Id.

Courts across the country agree that discrimination against transgender individuals warrants

heightened scrutiny. See, e.g., Hecox, 104 F.4th at 1079; Grimm, 972 F.3d at 586; Evancho v.

Pine-Richland Sch. Dist., 237 F. Supp. 3d 267, 288 (W.D. Pa. 2017); Adkins v. City of New York,

143 F. Supp. 3d 134, 139 (S.D.N.Y. 2015); Bd. of Educ. of Highland Loc. Sch. Dist. v. U.S. Dep’t

of Educ., 208 F. Supp. 3d 850, 873 (S.D. Ohio 2016); M.A.B. v. Bd. of Educ. of Talbot Cnty., 286

F. Supp. 3d 704, 718–19 (D. Md. 2018); Norsworthy v. Beard, 87 F. Supp. 3d 1104, 1119 (N.D.

Cal. 2015); F.V. v. Barron, 286 F. Supp. 3d 1131, 1145 (D. Idaho 2018).

       The record before the Court amply supports that transgender status satisfies each of the

factors that define a quasi-suspect classification. In particular, transgender individuals have been

subject to pervasive discrimination both historically and in the present day.           Historically,

governments have criminally punished transgender people for wearing the “wrong” clothing,



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barred them from being teachers or federal employees or from serving in the military, excluded

them from nondiscrimination laws, prevented them from correcting sex markers on government-

issued identity documents, excluded coverage of transition-related care under Medicare and

Medicaid and for incarcerated transgender people, stripped transgender parents of custody and

even parental rights, and barred transgender people from marriage.2 This discrimination continues

in the present day. “The hostility and discrimination that [they] face in our society today is well-

documented.” Brocksmith v. United States, 99 A.3d 690, 698 n.8 (D.C. 2014). This historical

discrimination has escalated dramatically over the past five years, as many states have passed laws

denying transgender people basic rights and protections. See Wardenski Decl. Ex. N.

       C.      The Order and Guidance Also Violate Equal Protection Because They Were
               Adopted at Least in Part for a Discriminatory Purpose.

       Furthermore, even if the provisions of the Order and Guidance that impose differential

treatment based on a history of gender dysphoria did not facially discriminate based on sex and

transgender status, those provisions still would be subject to heightened scrutiny for a different

reason. A facially neutral policy is nevertheless subject to heightened scrutiny under equal

protection principles if it was “adopted with discriminatory intent.” See In re Navy Chaplaincy,

323 F. Supp. 3d 25, 41 (D.D.C. 2018), aff’d, No. 19-5204, 2020 WL 11568892 (D.C. Cir. Nov. 6,

2020) (citing Arlington Heights, 429 U.S. at 266); see also Fowler, 104 F.4th at 784–85 (even

assuming facial neutrality, state policy of denying transgender applicants amendment of birth

certificates was subject to heightened scrutiny where plaintiffs “alleged facts from which we may

reasonably infer purposeful discrimination on the basis of transgender status”); Eknes-Tucker v.


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  See, e.g., Cisek v. Cisek, No. 80 C.A. 113, 1982 WL 6161 at *1–2 (Ohio Ct. App. July 20, 1982)
(denying visitation to parent on the basis of parent’s transgender status); Daly v. Daly, 102 Nev.
66, 70–72 (1986) (terminating parental rights on the basis of parent’s transgender status); M.B. v.
D.W., 236 S.W.3d 31, 35–38 (Ky. Ct. App. 2007) (same); Wardenski Decl. Ex. K; Wardenski
Decl. Ex. L; Wardenski Decl. Ex. M.
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Governor of Ala., 80 F.4th 1205, 1230 (11th Cir. 2023) (facially neutral statute is subject to

heightened scrutiny if it is “a pretext for invidious discrimination against [transgender]

individuals”); Doe v. Ladapo, 737 F. Supp. 3d at 1282 (subjecting state statute banning medical

care for transgender minors to intermediate scrutiny under Arlington Heights).

        A discriminatory purpose need not be the sole or even primary motivation to warrant

heightened scrutiny. “Rarely can it be said that a legislature or administrative body operating

under a broad mandate made a decision motivated solely by a single concern . . . .” Arlington

Heights, 429 U.S. at 265. But “[w]hen there is a proof that a discriminatory purpose has been a

motivating factor in the decision, . . . judicial deference is no longer justified.” Id. at 265–66

(emphasis added). Nor does proving a discriminatory purpose require a showing of subjective

hatred, malice, or a self-conscious desire to harm. See Bray v. Alexandria Women’s Health Clinic,

506 U.S. 263, 269–70 (1993). “Prejudice . . . may result as well from insensitivity caused by

simple want of careful, rational reflection or from some instinctive mechanism to guard against

people who appear to be different in some respects from ourselves.” Bd. of Trs. of Univ. of Ala. v.

Garrett, 531 U.S. 356, 374 (2001) (Kennedy, J., concurring).

        “Determining whether invidious discriminatory purpose was a motivating factor demands

a sensitive inquiry into such circumstantial and direct evidence of intent as may be available.”

Arlington Heights, 429 U.S. at 266. A court may infer purposeful discrimination based on the

“totality of the relevant facts.” Washington v. Davis, 426 U.S. 229, 242 (1976). Where a “clear”

and “stark” pattern of disparate impact “emerges from the effect” of the challenged policy, “[t]he

evidentiary inquiry is . . . relatively easy,” and “impact alone” may be “determinative.” Arlington

Heights, 429 U.S. at 266. Other relevant facts include the “historical background” of the




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challenged policy, the “sequence of events leading up to the challenged” policy, and “[d]epartures

from the normal procedural sequence” in the adoption of the policy. Id. at 267.

       Applying the Arlington Heights factors, the record overwhelmingly demonstrates that

purposeful discrimination was a motivating factor underlying the Order—in other words, that the

Order was issued “at least in part ‘because of,’ not merely ‘in spite of,’ its adverse effects upon an

identifiable group.” Pers. Adm’r of Mass. v. Feeney, 442 U.S. 256, 279 (1979).

       First, the stark disparate impact of the Order and Guidance is clear: only transgender

service members are affected by the exclusion from military service and denial of medical care to

those with a history or symptoms of gender dysphoria. See, e.g., Fowler, 104 F.4th at 786 (finding

discriminatory purpose where challenged “[p]olicy affects transgender people but not cisgender

people”); Doe v. Ladapo, 737 F. Supp. 3d at 1269 (same).

       Second, the historical background demonstrates that the Order is only the latest chapter in

President Trump’s yearslong effort to exclude transgender people from the military, an effort that

dates back to the announcement of the first ban in 2017. At every turn, those efforts have been

accompanied by actions and efforts reflecting unvarnished hostility toward transgender people as

a group. This Court may take into account other actions taken contemporaneously and tied to the

same poisonous tree, including the Gender Ideology Order, which is expressly incorporated by

reference into the Order banning transgender military service, as well as throughout the other

Executive Orders targeting transgender people in schools and for denials of federal funding. See

Church of Lukumi Babalu Aye, Inc. v. City of Hialeah, 508 U.S. 520, 540 (1993) (“Relevant

evidence includes, among other things, the historical background of the decision under challenge,

the specific series of events leading to the enactment or official policy in question, and the

legislative or administrative history, including contemporaneous statements made by members of



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the decision making body.”); Hecox v. Little, 479 F. Supp. 3d 930, 984 (D. Idaho 2020) (“That the

Idaho government stayed in session amidst an unprecedented national shut down to pass two laws

which dramatically limit the rights of transgender individuals suggests the Act was motivated by

a desire for transgender exclusion, rather than equality for women athletes, particularly when the

national shutdown preempted school athletic events, making the rush to the pass the law

unnecessary.”); Doe v. Ladapo, 737 F. Supp. 3d at 1274 (“Perhaps the best evidence of [animus]

is another statute passed on the very same day as the statute at issue here.”).

       Third, the specific events leading up to the issuance of the Order and Implementing

Guidance include repeated displays of overt animosity toward transgender service members. The

Order itself accuses transgender people of lacking the “honesty,” “humility,” “integrity,”

“honor[],” “truthful[ness],” and “discipline[]” needed for military service, and the Implementing

Guidance repeats those accusations. 90 Fed. Rep. 8757 §§ 1–2. The Order expressly incorporates

the definitions from the Gender Ideology Order, which purports to entirely eradicate the legal

recognition of transgender people from every aspect of federal law and policy. See id. § 3.

       Fourth, the Order and Implementing Guidance were issued in a rushed and highly unusual

manner that reflects multiple departures from the normal procedural sequence for adoption of

military policies. See Supp. Skelly Decl. ¶¶ 16–18; 2d Supp. Wagner Decl. ¶¶ 10–12. The Order

was issued a week after President Trump took office and was preceded by no apparent study. The

implementing Guidance was issued 30 days later in a similarly rushed manner that involved no

evident effort to study in any meaningful way the record of open service by transgender service

members during the years the Austin Policy was in effect. Even the rollout of this Implementing

Guidance had to be almost immediately “clarify[ied].” See ECF No. 65. And, rather stunningly,

a core direction of the Implementing Guidance, identifying the group subject to separation, remains



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subject to forthcoming instruction. See FAQ at 2 (“The Department will provide supplemental

guidance which will address the identification of Service members diagnosed with gender

dysphoria.”). In these respects, the Order and Implementing Guidance stand in stark contrast from

the Carter and Austin policies, which were preceded by extensive factfinding, study by military

professionals, and orderly implementation. See Wagner Decl. ¶¶ 9–27; Bourcicot Decl. ¶¶ 12–23.

        In short, the record demonstrates that the Order and Implementing Guidance were

motivated at least in part by purposeful discrimination against transgender individuals. That

discriminatory purpose is woven throughout the record before the Court and appears at every stage

of the process that led to the adoption of the challenged policy. Indeed, the purpose to discriminate

is stated on the face of the Order and Implementing Guidance, which declare that transgender

people cannot be sufficiently honest, humble, disciplined, or honorable to be worthy of military

service. For this additional reason, the Order and Implementing Guidance subject to intermediate

scrutiny under the equal protection component of the Fifth Amendment.

        D.      The Order and Guidance Cannot Survive Any Level of Review.

                1.      Deference to Military Judgment Does Not Shield a Facially Discriminatory
                        Policy from Heightened Scrutiny.

        The government is not “free to disregard the Constitution when it acts in the area of

military affairs.”   Rostker v. Goldberg, 453 U.S. 57, 67 (1981); see also Singh v. Carter, 168 F.

Supp. 3d 216, 219 (D.D.C. 2016) (enjoining compelling Sikh service member to perform training

in violation of his religion); Calixto v. U.S. Dep’t of the Army, No. CV 18-1551 (PLF), 2021 WL

2253351, at *4 (D.D.C. June 3, 2021) (“The Army is not ‘exempted from constitutional provisions

that protect the rights of individuals.’” (quoting Emory v. Sec’y of Navy, 819 F.2d 291, 294 (D.C.

Cir. 1987))).




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       As Judge Wilkins’s concurring opinion in Doe 2 noted, “[i]n Rostker, the Court declined

the Government’s invitation to declare that rational basis scrutiny, rather than heightened scrutiny,

necessarily applies to all military policies, even when the policy includes a facially discriminatory

classification.” 917 F.3d at 704. Rather, the Court in Rostker held that the military’s sex-based

selective service registration could survive equal protection review even under intermediate

scrutiny based on the then-existing exclusion of women from combat, which put men and women

into dissimilar positions with respect to a potential draft. 453 U.S. at 77–79; see also Frontiero v.

Richardson, 411 U.S. 677, 688–91 (1973) (plurality) (applying heightened scrutiny in equal

protection sex-discrimination challenge to military benefits rules); Owens v. Brown, 455 F. Supp.

291, 305–09 (D.D.C. 1978) (invalidating ban on assignment of female service members and

rejecting government’s morale and discipline rationales where the ban’s overbreadth belied

asserted purpose of preserving combat effectiveness). Because the Order facially discriminates

based on sex, these holdings require the application of heightened scrutiny.

       Although courts must be “appropriately deferential” in reviewing “the ‘considered

professional judgment’ of ‘appropriate military officials,’” Doe 2 v. Shanahan, 755 F. App’x at 25

(quoting Goldman v. Weinberger, 475 U.S. 503, 509 (1986)), they do not reflexively defer to

government decisions simply because they relate to the military. Rather, courts have recognized

an obligation to credit the military’s assessment of the importance of particular asserted interests

that might not be considered important in civilian settings. For example, in Goldman, the Court

credited the importance of the military’s asserted interest in the need for uniformity—a

consideration with little relevance to civilian workplaces. See 475 U.S. at 507. But that deference

to the importance of the government’s asserted interest does not convert heightened scrutiny into

mere rational basis review. This District has explicitly rejected extending Goldman beyond the



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context of Free Exercise challenges regarding military conduct regulations, explaining that

“[a]lthough this Court is mindful of the Supreme Court’s admonishment that the judiciary should

give substantial deference to matters related to management of the military, such protection does

not extend to practices that may subvert one’s inalienable constitutional rights.” Adair, 183 F.

Supp. 2d at 52 (rejecting the “slippery slope” of extending Goldman to Equal Protection and

Establishment Clause claims).

       Most recently, in Singh v. Berger, the D.C. Circuit strongly affirmed that “the cost of

military service has never entailed the complete surrender of all basic rights.” 56 F.4th 88, 92

(D.C. Cir. 2022) (internal quotations committed). “When it acts in the area of military affairs,

Congress remains subject to the limitations of the Due Process Clause.” Id. (cleaned up) (quoting

Rostker, 453 U.S. at 67). As the court explained, when an injunction “addresses military affairs,

courts give great deference to the professional judgment of military authorities concerning the

relative importance of a particular military interest. Id. at 95 (internal quotations omitted).

However, that deference does not preclude requiring the military to show a sufficiently close

connection between its asserted interest and the challenged policy. Id. at 99.

       In Singh, the Court held that “even giving the widest berth” to the military’s asserted in

uniform grooming standards, its claimed compelling need for grooming uniformity did not stand

up to the exception to boot camp grooming rules that the Corps has already created, which that

seriously undermined the Corps’ contention that it could brook no departures for Plaintiffs. Id.;

see also Doe 2, 917 F.3d at 703 (Wilkins, J., concurring) (suggesting the result in Goldman would

have been different if the policy “permit[ted] the wearing of any religious headgear except

yarmulkes”).

       Plaintiffs do not question the military’s interests in readiness, lethality, and unit cohesion.



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Rather, they argue that there is no rational—much less substantial—relationship between

advancing these interests and excluding transgender people from service. Like in Singh, the claim

that transgender service members with gender dysphoria must be excluded to advance these

interests conflicts with the military’s individualized approach to all other medical conditions.

       For all other conditions, the military evaluates service members based on actual

performance ability, with no other condition triggering automatic discharge. See 2d Supp. Wagner

Decl. ¶¶ 5–7. Additionally, transgender service members face unique restrictions unrelated to

medication regulations, including limitations on facilities, housing, and pronoun use. Therefore,

as in Singh, proper deference to military judgment does not eliminate the need for heightened

scrutiny regarding the fit between the government's interests and its policy.

               2.      Defendants cannot meet their burden under heightened scrutiny and the
                       challenged policy fails even rational basis review

       Under heightened review, the government must prove the Order and Implementation

Guidance are substantially related to an exceedingly persuasive justification. VMI, 518 U.S. at

533. “The justification must be genuine, not hypothesized or invented post hoc in response to

litigation,” and cannot rely on “overbroad generalizations” about transgender people. Id. Even

without heightened scrutiny, the Order and Implementation Guidance fail basic equal protection

requirements—there must be a rational relationship between the classification and objective.

Cleburne v, 473 U.S. at 442. The asserted justifications are so disconnected from the ban’s broad

sweep that they fail even this basic test.

       Defendants claim barring military service by transgender people advances the same

governmental interests that were asserted in support of the 2018 Mattis Plan: (1) promoting

military readiness, based on purported concerns about the deployability of transgender troops;

(2) promoting unit cohesion, based on concerns about maintaining sex-based standards; and


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(3) lowering costs. See ECF No. 38 at 23–26, 28–31. None of these asserted justifications justifies

singling out and disqualifying transgender people from service as Defendants have done.

       (a) The Ban does not promote military readiness.

       Banning individuals from military service because they are transgender undermines

military readiness. The military already has universal policies for enlistment, deployment, and

retention. See DODi 6130.03, Vol. 1, at 2; Soper Decl. ¶ 22. Apart from transgender people, the

military relies on these universal standards to determine fitness to serve; no other class of people

is excluded from individualized evaluation under those standards or presumed to be unfit simply

by virtue of their membership in a particular class. Because transgender service members must

already comply with military-wide policies, having a separate policy that excludes them from

service simply for being transgender serves only to bar transgender individuals who are fit to serve

and to deploy.

       First, all prospective service members undergo rigorous examination for preexisting

physical or mental health conditions that might preclude enlistment. See DoD Instruction 6130.03

at 1.2(d); Supp. Brown Decl. ¶¶ 62–63. Ignoring this existing screening process, the Order and

Implementing Guidance justify banning transgender people by claiming higher rates of suicidality

and psychiatric diagnoses. Defendants’ own review acknowledges that discrimination drives

elevated suicidality in transgender people. Regardless, Defendants cannot justify singling out

transgender people when the military already directly screens for these conditions. Anyone with

suicidal behavior history—transgender or not—is barred from enlisting. See DODi 6130.03, Vol.

1, at 6.28(m). Anyone with anxiety or depression history—transgender or not—faces the same

enlistment criteria. See id. at 5.29(f), (q); see also Supp. Wagner Decl. ¶¶ 2–7; 2d Supp. Wagner

Decl. ¶¶ 4–7; Soper Decl. ¶ 20; Supp. Brown Decl. ¶ 63. Under these universal standards, all



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enlistees are screened to ensure medical and mental health history meets service requirements.

Defendants don't claim all transgender people share characteristics raising fitness concerns.

Therefore, the ban only excludes qualified transgender applicants, impeding rather than advancing

military readiness.

       The irrationality of excluding fit applicants explains why the military does not categorically

exclude other demographic groups with disproportionate rates of mental health conditions. Soper

Decl. ¶¶ 19, 21. For example, children of service members have significantly elevated suicide

attempt rates, Supp. Brown Decl. ¶¶ 60–61, yet aren’t barred from service. Defendants’ anomalous

approach to transgender people strongly suggests animus rather than legitimate concerns. Cf.

Garrett, 531 U.S. at 366 n.4 (noting that a policy should be struck down where its

“justifications . . . made no sense in light of how the [government] treated other groups similarly

situated in relevant respects”).

       The Order and Implementing Guidance irrationally cite deployability concerns to exclude

even transgender individuals who have completed transition and require only the same routine

hormone therapy many other service members receive.            See Guidance §§ 4.3(c)(2), 4.4(a)

(requiring separation based on “history” of gender dysphoria and denying waivers for anyone who

has “attempted to transition”). This policy excludes medically stable and fit individuals who could

meet the same accession criteria as other applicants.          Highlighting this irrationality, the

Implementing Guidance “designates” fully deployable transgender service members as

nondeployable once “processed for separation.” § 4.4(a)(3).

       Second, the policy also irrationally creates a special rule requiring discharge of any service

member with a “history” or “symptoms” of gender dysphoria rather than relying on medical

retention standards that already apply to all service members. Under those existing standards, any



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service member who develops a health condition that could result in unfitness must undergo a

medical evaluation process, including review by a medical evaluation board. See DOD Instruction

1332.18 at § 3.2.a (purpose of medical evaluation board); § 3.3.a (purpose of physical evaluation

board); § 5.2 (criteria for referral); see also Soper Decl. ¶ 13. That review determines whether

there are restrictions on the person’s ability to serve and may, where appropriate, result in

discharge. See id. The Order and Implementing Guidance divert transgender service members

from individualized review and subject them to automatic discharge. Nothing about gender

dysphoria or its treatment justifies bypassing the ordinary medical evaluation process. Defendants

don't claim that all transgender people requiring gender transition would fail individualized review.

The policy’s only effect is to discharge otherwise fit individuals—undermining, rather than

advancing, military readiness.

       In sum, singling out transgender people based on speculation that some may fail military

standards is both dramatically overinclusive (excluding many fit to serve) and underinclusive

(ignoring non-transgender people with medical needs causing nondeployment or increased health

risks). Laws that are “grossly over- and under-inclusive” are “so poorly tailored” to legitimate

interests that they “cannot survive heightened scrutiny.” Latta v. Otter, 771 F.3d 456, 472 (9th

Cir. 2014); see also Bostic v. Schaefer, 760 F.3d 352, 382 (4th Cir. 2014) (rejecting justifications

“so underinclusive” that they “must have rested on irrational prejudice” (cleaned up)). As the

Second Circuit held in Crawford v. Cushman, military policies targeting conditions associated

with specific groups—there, pregnant women—in such anomalous fashion fail even rational basis

review: “Why the Marine Corps should choose, by means of the mandatory discharge of pregnant

Marines, to insure its goals of mobility and readiness, but not to do so regarding other disabilities




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equally destructive of its goals, is subject to no rational explanation.” 531 F.2d 1114, 1123 (2d

Cir. 1976).



       (b) Defendants’ arguments about unit cohesion are circular and rest on impermissible
           gender stereotypes.

       Defendants’ claim that transgender service members are “[i]ncompatible with [s]ex-

[b]ased [s]tandards” is meritless. 2018 Panel Report 35; see ECF No. 38 at 30. Plaintiffs do not

challenge differing standards for men and women, and claiming transgender servicemembers are

incompatible with “biologically-based” standards merely restates the discriminatory policy as

justification. Plaintiffs simply seek equal treatment. Allowing transgender men to serve as men

and transgender women as women does not disrupt sex-based standards where they exist. Under

the Austin Policy, a service member’s sex is determined by the DEERS marker. Changing this

marker requires completed gender transition and commander approval based on “expected impacts

on mission and readiness.” This process ensures the military maintains appropriate sex-based

standards for all service members, including transgender personnel.

       Defendants’ claim that transgender service members violate others’ privacy rights, see ECF

No. 38 at 29, has no merit, as demonstrated by experience under the Austin Policy. Arguing that

transgender service members’ mere presence violates privacy rights relies on the same

impermissible gender stereotypes that make discrimination against transgender people “a form of

discrimination on the basis of gender.” Doe 1, 275 F. Supp. 3d at 209. Defendants’ reliance on

these stereotypes demonstrates why the Order and Implementing Guidance fail heightened

scrutiny. Their argument essentially claims transgender people inherently undermine sex-based

standards. If accepted, this reasoning would justify excluding transgender people from all




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institutions with sex-based facility criteria—schools, workplaces, public accommodations—

effectively banishing them from civic life entirely.

       Courts have rejected the use of Defendants’ privacy rationale to justify discrimination

against transgender individuals in other settings. See A.C. v. Metro. Sch. Dist. of Martinsville, 75

F.4th 760, 772–73 (7th Cir. 2023); Grimm, 972 F.3d at 614; Parents for Privacy v. Barr, 949 F.3d

1210, 1225 (9th Cir. 2020); Doe ex rel. Doe v. Boyertown Area Sch. Dist., 897 F.3d 518, 531 (3d

Cir. 2018) (“[W]e decline to recognize . . . a right that would be violated by the presence of

students [in restrooms or locker rooms] who do not share the same birth sex.”); Whitaker, 858 F.3d

at 1052 (“A transgender student’s presence in the restroom provides no more of a risk to other

students’ privacy rights than the presence of . . . any other student who used the bathroom at the

same time.”), cert. dismissed, 138 S. Ct. 1260 (2018).3

       As these courts have recognized, permitting transgender individuals to live in accord with

their gender identity does not undermine the existence of sex-based activities or facilities, nor does

it threaten the privacy or safety interests of others. The same analysis applies here. To the extent

Defendants claim there is anything unique about the military justifying a departure from this

established precedent, that argument is belied by the military’s successful implementation of

extensive guidance and training since the adoption of the Austin Policy. With nearly 8 years of

experience integrating transgender people into the service, it is notable that Defendants present no




3
  Such claimed privacy concerns are no more adequate to justify requiring transgender service
members to serve in their birth sex than they would be to justify the exclusion of gay male service
members from men’s facilities or lesbian service members from women’s facilities. In either case,
such a policy would violate equal protection by relying on a sex-based characteristic—sexual
orientation or gender identity—to exclude individuals from the same facilities used by others. See
Bostock, 590 U.S. at 660. Rather than justifying the discrimination, the claimed privacy interest
relies on irrational fears and stigmatizing stereotypes, falsely implying that gay or transgender
individuals pose a threat to the safety or privacy of others.
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evidence in support of their claims and rely instead on hypothetical rather than actual concerns.

2018 Panel Report 36-37.14; ECF No. 38 at 30. Under the heightened scrutiny that applies to this

case, such hypothetical justifications are insufficient to justify Defendants’ policy. See VMI, 518

U.S. at 533. And “[t]o the extent this is a thinly-veiled reference to an assumption that other

service members are biased against transgender people, this would not be a legitimate rationale for

the challenged policy.” Doe 1, 275 F. Supp. 3d at 212 n.10 (citing Palmore v. Sidoti, 466 U.S.

429, 433 (1984) (“Private biases may be outside the reach of the law, but the law cannot, directly

or indirectly, give them effect.”)).

       Defendants’ arguments are similar to those rejected by the court in Owens. In that case,

the government sought to justify a law that barred Navy commanders from assigning female

personnel to ships. Owens v. Brown, 455 F. Supp. 291, 294–95 (D.D.C. 1978). The government

argued that permitting such assignments would undermine morale and discipline, citing “the

unknown effects that full sexual integration might have on group dynamics.” Id. at 306. The court

rejected that justification as legally insufficient and granted summary judgment to the Plaintiffs:

“Commanding Officers have sufficient authority to deal with persons having difficulty adjusting

to mixed crews. . . . Adjustments and thawing of previously held barriers to the presence of

women and acceptance by the male ship’s company are social facts of life which must be

recognized and dealt with.” Id. at 309 (internal citation and marks omitted). The court therefore

concluded that “none of the practical concerns regarding the integration of male and female

personnel afford a warrant for upholding the total exclusion reflected in [the challenged law].

Whatever problems might arise from integrating shipboard crews are matters that can be dealt with

through appropriate training and planning.” Id. The same analysis applies here. Commanding

officers have ample authority to deal with any persons having difficulty adjusting to transgender



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service members, just as they have dealt with any such issues relating to the military’s inclusion

of women, racial and religious groups, and gay people, and as they have already been doing with

respect to transgender service members under the Austin Policy. In light of those realities,

Defendants’ hypothetical concerns that transgender people undermine cohesion, order, or

discipline have no bases in fact; like those rejected in Owens, they are legally insufficient to justify

a policy that facially discriminates based on sex.

       (c) Banning transgender people from military service cannot be justified based on
           cost.

       Since President Trump issued the Order on January 27, Defendants have not cited medical

costs as justification; however, in the February 26, 2025 Action Memo, they newly claim that “the

costs associated with their health care . . . make continued service by such individuals

incompatible with the Department's rigorous standards and national security imperative to deliver

a ready, deployable force.” Wardenski Decl. Ex. V. Under heightened review, Defendants “must

do more than show that denying . . . medical care . . . saves money.” Mem’l Hosp. v. Maricopa

Cnty., 415 U.S. 250, 263 (1974). “The conservation of the taxpayers’ purse is simply not a

sufficient state interest” to justify an equal protection violation under heightened scrutiny. Id.; see

also Graham v. Richardson, 403 U.S. 365, 375 (1971). Even under rational basis review, “a

concern for the preservation of resources standing alone can hardly justify the classification used

in allocating those resources.” Plyler, 457 U.S. at 227. The government must justify why it chose

a particular group to bear the cost-saving burden. Id. at 229; see also Diaz v. Brewer, 656 F.3d

1008, 1013 (9th Cir. 2011).

        Defendants have not explained why the cost savings they seek should be borne by

transgender service members. They have stipulated that the total cost of treating service members

for gender dysphoria represents “a small fraction of DoD’s total medical budget.” ECF No. 66 at


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2. Former Deputy Undersecretary Skelly confirms that under the Austin Policy, no concerns were

raised by the Assistant Secretary for Health Affairs or Defense Health Agency staff concerning

the cost of treating transgender service members. See Supp. Skelly Decl. ¶ 14; see also 2d Supp.

Wagner Decl. ¶¶ 8–9.4 In short, Defendants have no sufficient cost-related justification for a

policy banning transgender persons from military service or requiring the denial of medical care

while current service members are processed for separation. Their cost-savings argument does

nothing more than attempt to “justify [their] classification with a concise expression of an intention

to discriminate.” Plyler, 457 U.S. at 227.

IV.    PLAINTIFFS ARE LIKELY TO SUCCEED ON THEIR ESTOPPEL CLAIM

       Estoppel bars Defendants from reversing course and discharging or denying accession to

Plaintiffs based on their transgender status. The D.C. Circuit has established that the “fundamental

principle of equitable estoppel applies to government agencies, as well as private parties.” ATC

Petroleum, Inc. v. Sanders, 860 F.2d 1104, 1111 (D.C. Cir. 1988) (quoting Invs. Rsch. Corp. v.

SEC, 628 F.2d 168, 174 n.34 (D.C. Cir. 1980)). For claims against the government, Plaintiffs must

prove—beyond the traditional elements of equitable estoppel—that the government “behave[d] in

ways that . . . will cause an egregiously unfair result.” Masters Pharm., Inc. v. DEA, 861 F.3d 206,

225 (D.C. Cir. 2017); see also Keating v. FERC, 569 F.3d 427, 434 (D.C. Cir. 2009); see also

Keating v. FERC, 569 F.3d 427, 434 (D.C. Cir. 2009). Here, where the government has failed to


4
  By way of comparison, for the 2025 Defense Health Program budget, DoD requested
approximately $2.6 million for veterinary services alone. Def. Health Program, U.S. Dep’t of
Def., Fiscal Year (FY) 2025 President’s Budget Operation and Maintenance Def. Health Program
Justification Estimates 53 (2024). Since 2015, the Department has requested over $200 million
for veterinary services as part yearly budgets. See Def. Health Program, U.S. Dep’t of Def., Fiscal
Year (FY) 2015-2024 President’s Budget Operation and Maintenance Def. Health Program
Estimates        (2015-2025),        available      at     https://comptroller.defense.gov/Budget-
Materials/FY2025BudgetJustification/. This is nearly four times the amount Defendants state was
spent on providing medical care to transgender service members in that same time period. See
ECF No. 66 at 2.
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treat Plaintiffs with even the “minimum standard of decency, honor, and reliability,” Bartko v.

SEC, 845 F.3d 1217, 1227 (D.C. Cir. 2017), the case for estoppel is clear.

         First, numerous DoD statements and policies since July 2015 assured Plaintiffs that they

would be able to serve in the military as transgender, specifically, that they could serve in a sex

different than their birth sex. See, e.g., Genesis Health Ventures, Inc. v. Sebelius, 798 F. Supp. 2d

170, 185 (D.D.C. 2011) (Medicare intermediary’s verbal agreement, and its subsequent actions

honoring that agreement, gave rise to detrimental reliance). These assurances began in 2015 when

Secretary Carter elevated decision making for discharges of transgender troops to the level of

Undersecretary Brad Carson and initiated a Working Group to evaluate the readiness implications

of “welcoming transgender persons to serve.” Wardenski Decl., ECF No. 13-10, Ex. G at 18. On

June 30, 2016, Secretary Carter announced that the country’s military would be best served by

permitting transgender individuals to serve and declared that transgender individuals “can no

longer be discharged or otherwise separated from the military just for being transgender.”

Wardenski Decl., ECF No. 13, Ex. A at 4. That initial announcement was followed by DTM 16-

005, which set forth the policy “that service in the United States military should be open to all who

can meet the rigorous standards for military service and readiness,” and that, “[c]onsistent with the

policies and procedures set forth in this memorandum, transgender individuals shall be allowed to

serve in the military,” Wagner Decl., ECF No. 13, at Ex. B, and specifically set forth terms of how

people could transition in service. Each of the military departments implemented DTM 16-005 in

their respective service branches, and the DOD issued a comprehensive handbook providing

guidance on the new policy to both military service members and commanders, reiterating the

specific means by which a person could transition in service. Wardenski Decl., ECF No. 13, at

Ex. B.



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       The Directive also ordered the Department of Defense to update its accession standards by

July 1, 2017, so that no person would be disqualified solely based on transgender status, and setting

forth that a person who transitioned and was stable in a different sex for 18 months who could

meet service standards could enlist. Wagner Decl., ECF No. 13, at Ex. B. While Secretary Mattis,

during the first Trump Administration, implemented a change in policy that disqualified

individuals who “have undergone gender transition” from joining the military, even the Mattis

Plan included a provision that created an exception to that ban for transgender individuals who had

already transitioned in reliance on the prior policy. Wardenski Decl., ECF No. 13, at Ex. G.

       On January 25, 2021, President Biden issued Executive Order 14004, Enabling All

Qualified Americans to Serve Their Country in Uniform, which repealed the prior Trump

Administration's ban and set the status quo. Wagner Decl., ECF No. 13, at ¶ 21. President Biden

stated that “it shall be the policy of the United States to ensure that all transgender individuals who

wish to serve in the United States military and can meet appropriate standards shall be able to do

so openly—free from discrimination.” Exec. Order No. 14,004, 86 F.R. 7471 at § 1. Shortly

thereafter, the DOD, under the direction of Secretary Austin, revised military policy to once again

permit transgender troops to be able to serve on equal terms with others, including to be able to

serve after going through gender transition. Cisneros Decl. ¶¶ 8–11. DoDI 6130.03, issued in

March 2021, reflects that change. Wardenski Decl., ECF No.13, at Ex. H. DoDI 1300.28, issued

in April 2021, details procedures by which transgender service members may transition while

serving. Wagner Decl., ECF No. 13, at Ex. D.

       Second, Plaintiffs relied on these official policies to their detriment. In accordance with

DoDI 1300.28, which details procedures for service members to transition, change their DEERS

markers, and continue in service in a different sex, Plaintiffs informed their commanding officers



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of their transgender status and underwent transition. See Wagner Decl., ECF No. 13, at Ex. D at

9; see also, e.g., Herrero Decl. ¶ 13 (“[M]y brigade commander approved my transition timeline,

and I was cleared to begin hormone replacement therapy.”); Cole Decl. ¶ 15 (“I notified my

command that I was transgender, officially changed my name, and began the process of changing

my gender marker in the Defense Enrollment Eligibility System (DEERS).”); Vandal Decl. ¶ 14

(“I informed my immediate chain of command and received nothing but support and acceptance

from my command and others who learned I was transgender.”); Supp. Danridge Decl. ¶ 5 (“My

command supports my service and has assured me that, from their perspective, my being a

transgender man will have no negative impact on my ability to continue serving.”) Supp. Bettis

Decl. ¶ 6 (same). Plaintiffs acted on the military's unequivocal assurance that they could transition

and continue serving or enlist in service.

       They now face administrative separation precisely because of the transitions they

underwent with express military authorization. This constitutes a clear “adverse change in status,”

the definition of detrimental reliance. Heckler v. Community Health Servs. of Crawford Cnty.,

Inc., 467 U.S. 51, 62 (1984). Not only did Plaintiffs rely on the military’s representations that they

could remain in service as transgender persons, but they are also now exposed under the challenged

policy to grave harm, including the end of military careers, the loss of healthcare, and the harms

associated with being subjected to administrative separation proceedings, where they relied on

military assurances. See, e.g., Powell v. Marsh, 560 F. Supp. 636, 640 (D.D.C. 1983).

       Third, such reliance was entirely reasonable. What the military promised transgender

individuals like Plaintiffs was not a gratuitous favor casually bestowed, but an official commitment

of equal treatment after a lengthy, highly deliberative, and public review process. Cf. Moser v.




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United States, 341 U.S. 41, 46 (1951) (finding “justifiable reliance” where Plaintiff sought

“guidance from the highest authority to which he could turn” and acted on reasonable belief).

       Finally, the circumstances here amply demonstrate affirmative governmental misconduct

that “will cause an egregiously unfair result.” Grumman Ohio Corp. v. Dole, 776 F.2d 338, 347

(D.C. Cir. 1985) (quoting Gen. Accounting Off. v. Gen. Accounting Off. Personnel Appeals Bd.,

698 F.2d 516, 526 & n.57 (D.C. Cir. 1983)). It is difficult to imagine anything more unfair than

subjecting service members to administrative separation after assuring them they could take steps

to transition that are now the basis for their dismissal. As the Ninth Circuit held in Watkins v. U.S.

Army, estoppel is appropriate where “the Army did not stand aside” while Plaintiff continued to

serve in reliance of military policy, but “plainly acted affirmatively in admitting, reclassifying,

reenlisting, retaining, and promoting [Plaintiff].” 875 F.2d 699, 708 (9th Cir. 1989). Similarly,

courts have applied estoppel where the government provided “active misadvice,” Johnson v.

Williford, 682 F.2d 868, 872-73 (9th Cir. 1982), or where the affirmative misconduct of

government officials precluded adverse action, Corniel-Rodriguez v. INS, 532 F.2d 301, 302 (2d

Cir. 1976). This Court should enjoin the ban because the military should be estopped from

separating transgender service members who transitioned under military policies that explicitly

authorized such medical care, making it fundamentally unjust to now cite their authorized medical

treatment as grounds for administrative separation. To withhold judicial relief in these exceptional

circumstances would repudiate “elementary fairness” in favor of governmental “entrap[ment].”

Moser, 341 U.S. at 47.

V.     PLAINTIFFS ARE LIKELY TO SUFFER IRREPARABLE INJURY ABSENT AN
       INJUNCTION

        For the purposes of a preliminary injunction, harm is irreparable where it is “of such

imminence that there is a clear and present need for equitable relief," and is "beyond remediation.”


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Chaplaincy of Full Gospel Churches v. England, 454 F.3d 290, 297 (D.C. Cir. 2006). The Order

and Implementing Guidance are already inflicting multiple harms on Plaintiffs, any one of which

easily satisfies this standard.

        The denial of Plaintiffs’ constitutional equal protection rights is, itself, irreparable injury

warranting preliminary relief. Davis v. District of Columbia, 158 F.3d 1342, 1346 (D.C. Cir.

1998); see also Pursuing Am.'s Greatness v. FEC, 831 F.3d 500, 511 (D.C. Cir. 2016); Gordon v.

Holder, 721 F.3d 638, 653 (D.C. Cir. 2013); Mills v. District of Columbia, 571 F.3d 1304, 1312

(D.C. Cir. 2009); Chaplaincy of Full Gospel Churches, 454 F.3d at 303. The Order and Guidance

impose an immediate and irreparable constitutional harm by branding Plaintiffs as less capable

and worthy of enlisting or serving in the Armed Forces solely because of their transgender status.

Such a “status-based enactment divorced from any factual context” violates the equal protection

guarantee of the Constitution, which prohibits the government from labelling a group as “unequal

to everyone else” based simply upon their status. Romer, 517 U.S. at 635.

        All currently serving Plaintiffs have been marked for administrative separation under the

February 26, 2025 memorandum. The Implementing Guidance precludes their referral to the

Disability Evaluation System (DES), the evaluation system typically used to review how a medical

condition impacts a service member’s deployability and role. Section 4.4(a)(1); 2d Supp. Cisneros

Decl. at 5; Soper Decl. ¶ 13. This designation itself constitutes irreparable harm as administrative

separation is a process typically reserved for service members engaged in misconduct or failure to

meet standards—not for treatable medical conditions that do not interfere with service. Soper

Decl. ¶ 16; 2d Supp. Cisneros Decl. at 5. Unlike the Disability Evaluation System, administrative

separation proceedings provide no opportunity to rebut allegations about how a medical condition

would restrict deployability—which transgender status does not, and which Defendants are not



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even claiming it does. 2d Supp. Cisneros Decl. ¶ 7. Every Plaintiff faces this threat because they

all have a current diagnosis or history of gender dysphoria and have either transitioned or are close

to completing transition. See ECF No. 63-1 at 3 ¶¶ 1.f–1.g. None meets the requirements of the

waiver provisions because they cannot serve in their birth sexes, nor can they demonstrate that

they have never attempted to transition. See id. at 6–7 ¶ 4.1.c; 8 ¶ 4.3.c; see also, e.g., 2d Supp.

Vandal Decl. ¶ 8; 2d Supp. Perelson Decl. ¶ 16; Supp. Cole Decl. ¶ 8; Supp. Graham Decl. ¶ 5.

       Moreover, service members subjected to separation proceedings are deemed

nondeployable while those proceedings are pending. Section 4.4(a)(3). The military has now

stated that Plaintiffs will be placed on administrative leave during separation proceedings, FAQ at

1-2, preventing them from performing their duties and making it impossible to meet goals required

for advancement and promotion. One Plaintiff will be denied a Senate-confirmed position,

Declaration of Michelle Bloomrose ¶ 8. Another faces loss of a competitive post in Hill staff

leadership Supp. Hash Decl. ¶¶ 6–8. Being marked as “unfit” and “undisciplined” is directly

interfering already with her opportunities in that position.       One Plaintiff has been denied

graduation, Declaration of Samuel Ahearn Decl. ¶ 9, while another risks denial of an elite

leadership position at a military academy. Supp. Herrero Decl. ¶¶ 7–9. Some Plaintiffs have had

ship-off dates canceled or postponed indefinitely, Shishkina Decl. ¶ 12; McCallister Decl. ¶¶ 11–

12, while others have been recalled from remote deployments in combat zones—putting them at

physical risk, including because their colleagues have been told they are unfit to serve, Morgan

Decl. ¶¶ 17–22.

       Multiple courts have recognized that the mere initiation of separation proceedings in

violation of constitutional rights constitutes irreparable injury warranting preliminary relief, even

before those proceedings conclude. See, e.g., Navy Seal 1 v. Austin, 586 F. Supp. 3d 1180, 1203



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(M.D. Fla. 2022) (plaintiff Marine who refused Covid-19 vaccine on religious grounds “face[d]

immediate processing for separation or other punishment,” and thus “irreparable harm will result

absent injunctive relief”); Schelske v. Austin, 649 F. Supp. 3d 254, 275 (N.D. Texas 2022) (holding

that existence of administrative military separation process and opportunity to seek waiver did not

negate irreparability of threatened separation proceedings where outcome of proceedings is

effectively predetermined); see also Von Hoffburg v. Alexander, 615 F.2d 633, 638 (5th Cir. 1980)

(holding that military plaintiff need not exhaust administrative remedies to challenge discharge

due to homosexual conduct where such remedies do not “provide a genuine opportunity for

adequate relief”).

       The identification mechanism itself is causing immediate harm. The Implementation

Guidance directs the Service Secretaries to “establish procedures and implement steps to identify

Service members.” Section 3.4(e). This identification began immediately upon issuance of the

Implementation Guidance, causing such immediate havoc that the military had to issue a

“clarification” prohibiting medical record reviews that violate service members’ privacy. A later

FAQ states that formal identification procedures are forthcoming. FAQ at 2. Yet simultaneously,

service members on deployment have been recalled stateside Morgan Decl. ¶¶ 17–22, and others

have had authorizations to serve consistent with their gender identity rescinded, Wolf Decl. ¶ 17;

Supp. Bettis Decl. ¶ 4; Supp. Tyson Decl. ¶ 4, placing them in violation of standards which the

Implementing Guidance directs they cannot violate. Section 4.2(a) (service members have a

“responsibility” to meet standards). This mandatory yet vague identification process has already

caused serious and extensive harms to Plaintiffs.

       Plaintiffs face an impossible “Hobson’s choice”: voluntarily leave the career to which they

have committed their lives or face certain administrative separation. This coerced choice itself



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constitutes irreparable injury. For Plaintiffs, military service is far more than a job—it is a career

and a calling to which they have, in many cases, devoted years of their lives. See, e.g., Talbott

Decl. ¶ 4; Vandal Decl. ¶ 1; Cole Decl. ¶ 1; Herrero Decl. ¶ 1; Danridge Decl. ¶ 1; Hash Decl. ¶ 1.

Military service has long been one of the hallmarks of equal citizenship and full participation in

the civic life of this country. See, e.g., Able v. United States, 968 F. Supp. 850, 864 (E.D.N.Y.

1997) (listing military service as one of the “primary acts of public citizenship”). It is harmful and

untenable to force them to either voluntarily leave or risk separation through inappropriate

proceedings designed to address circumstances not presented by service members who are meeting

their performance standards.

       The military has already halted medical care for all transgender service members, cancelled

all pending surgeries with none further to be authorized, and will not provide hormone therapy to

anyone not already prescribed such treatment. This abrupt termination of medically necessary care

exposes Plaintiffs to immediate health risks that cannot be remedied absent preliminary relief. See,

e.g., Bettis Decl. ¶¶ 10–12; Graham Decl. ¶¶ 7–10; Pickett Decl. ¶¶ 6–24; Sale Decl. ¶ 10; Tyson

Decl. ¶¶ 7–12. Additionally, Plaintiffs and their families will lose medical and other benefits upon

separation from the military. Loss of medical benefits alone may constitute irreparable harm,

particularly when coupled with the financial stresses of seeking a new livelihood. See Risteen v.

Youth for Understanding, Inc., 245 F. Supp. 2d 1, 16 (D.D.C. 2002).

       Finally, each day under this discriminatory ban irreparably damages the bonds of trust and

unit cohesion essential to military service. Wagner Decl. ¶¶ 42, 47; Cisneros Decl. ¶¶ 26, 28;

Bourcicot Decl. ¶ 31. The Order brands transgender service members as undermining “troop

readiness, lethality, cohesion, honesty, humility, uniformity, and integrity,” eroding essential

professional relationships that cannot be repaired even by prevailing at trial. A preliminary



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injunction is urgently needed to prevent this irreversible harm. Cf. Log Cabin Republicans v.

United States, No. 04-08425, 2012 WL 12952732, at *2 (C.D. Cal. Mar. 15, 2012).

VI.    THE BALANCE OF EQUITIES FAVORS AN INJUNCTION

       The balance of equities and public interest both favor an injunction. The Court must

“balance the competing claims of injury and consider the effect on each party of the granting or

withholding of the requested relief.” ConverDyn v. Moniz, 68 F. Supp. 3d 34, 52 (D.D.C. 2014).

These factors “merge when the Government is the opposing party.” Nken v. Holder, 556 U.S. 418,

435 (2009).

       Defendants will not suffer harm from a preliminary injunction. It would merely preserve

accessions and retention policies that have been in place for 4 years, with transgender people

serving for nearly 10 years. See Jubilant DraxImage Inc. v. U.S. Int’l Trade Comm’n, 396 F. Supp.

3d 113, 125 (D.D.C. 2019) (“The primary purpose of a preliminary injunction is to preserve the

status quo.”).

       The public interest also favors an injunction.      Despite military deference, “Military

interests do not always trump other considerations.” Doe 2, 755 F. App’x at 24. A “bare

invocation of ‘national defense’ simply cannot defeat every motion for preliminary injunction that

touches on the military.” Doe 1, 275 F. Supp. 3d at 217. Since the Executive Orders are likely

unconstitutional, enjoining them serves the public interest. See Karem v. Trump, 960 F.3d 656,

668 (D.C. Cir. 2020).

       Conversely, as explained more fully in Section V above, the ban would severely harm

Plaintiffs by ending careers built over years, damaging reputations, preventing necessary medical

care, and interfering with hard-earned leadership posts and career advancement.




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        The ban would also degrade military readiness and unit cohesion by causing the loss of

qualified personnel and their valuable skills. Skelly Decl. ¶¶ 20–26; Wagner Decl. ¶¶ 38–46;

Cisneros Decl. ¶¶ 23–29; Bourcicot Decl. ¶¶ 29–34. It would waste resources invested in training.

Cisneros Decl. ¶ 24. Moreover, suddenly reversing established policy toward a minority group

would erode service members' trust in command. Wagner Decl. ¶¶ 43–45; Cisneros Decl. ¶¶ 26–

27. This trust is essential to unit cohesion and military effectiveness. Bourcicot Decl. ¶ 31;

Wagner Decl. ¶ 45.

VII.    FACIAL INJUNCTIVE RELIEF IS NECESSARY TO PREVENT IRREPARABLE
        HARM TO PLAINTIFFS

        Facial injunctive relief is the only way to ensure Plaintiffs do not continue to suffer

irreparable harm.

        This Court has “broad discretion” in tailoring injunctive remedies. Nat’l Mining Ass’n v.

U.S. Army Corps of Eng’rs, 145 F.3d 1399, 1408 (D.C. Cir. 1998). This includes authority to issue

facial injunctions. Whitman-Walker Clinic, 485 F. Supp. 3d at 61. Both this Circuit and Court

routinely recognize the necessity of such relief when government action is facially

unconstitutional. See, e.g., Nat. Mining Ass’n, 145 F.3d at 1409.

        That this case involves a military policy heightens the need for facial relief. Every federal

court to consider the President’s first attempt to ban military service by transgender people

enjoined that policy in all its applications, 5 and the D.C. Circuit declined to stay this Court’s

injunction as to non-plaintiffs. Doe 1 v. Trump, No. 17-5267, 2017 U.S. App. LEXIS 26477, at




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 Doe 1 v. Trump, No. 17-1597 (CKK), 2017 U.S. Dist. LEXIS 211561, at *13 (D.D.C. Dec. 11,
2017); Stone v. Trump, 280 F. Supp. 3d 747, 757, 772 (D. Md. 2017); Stockman v. Trump, No.
EDCV 17-1799 JGB (KKx), 2017 U.S. Dist. LEXIS 221323, at *51 (C.D. Cal. Dec. 22, 2017);
Karnoski v. Trump, No. C17-1297-MJP, 2017 U.S. Dist. LEXIS 203481, at *32–33 (W.D. Wash.
Dec. 11, 2017).
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*12 (D.C. Cir. Dec. 22, 2017); see also Austin v. U.S. Navy SEALs 1–26, 142 S. Ct. 1301 (2022)

(Mem.) (confirming courts’ authority to enjoin facially discriminatory military rules); Roe v. U.S.

Dep’t of Defense, the Fourth Circuit. 947 F.3d 207, 232 (4th Cir. 2020) (affirming a preliminary

injunction prohibiting the Air Force from “an unexplained categorical policy, which effectively

operated as a ban” on service by people with HIV); Doe v. Rumsfeld, 341 F. Supp. 2d 1, 16 (D.D.C.

2004) (entering permanent injunction prohibiting the military from requiring anthrax vaccines).

       Plaintiffs will continue to suffer irreparable injury unless this Court grants facial relief. See

Doe 2 v. Trump, 344 F. Supp. 3d 16, 23 (D.D.C. 2018) (“[I]n circumstances where a plaintiff is

injured by a rule of broad applicability, a single plaintiff, so long as he is injured by the rule, may

obtain ‘programmatic’ relief that affects the rights of parties not before the court.” (internal

quotation omitted)).

       First, facial relief is “the only way” to protect Plaintiffs. Id. at 25; see U.S. Dep’t of Agric.,

444 F. Supp. 3d at 49. An injunction limited to named plaintiffs “would not provide Plaintiffs

with any meaningful relief.” Whitman-Walker Clinic, 485 F. Supp. 3d at 62 (cleaned up). When

enjoining the previous transgender military ban, this Court noted that relief applied only to

Plaintiffs would single them out “as an inherently inferior class of service members, allowed to

continue serving only by the Court's limited order.” Doe 2 v. Trump, 344 F. Supp. 3d at 24. Only

enjoining the entire policy will prevent “the core class-based injury.” See ECF 63-1 at 5.

       Second, a facial injunction is necessary to provide “systemwide relief” for the systemwide

injuries caused by the ban. See id. at 26. “[T]he ‘scope of injunctive relief is dictated by the extent

of the violation established.’” Whitman-Walker Clinic, 485 F. Supp. 3d at 62 (quoting Califano,

442 U.S. at 702); cf. Cath. Legal Immigr. Network, Inc. v. Exec. Off. for Immigr. Rev., 513 F. Supp.

3d 154, 178 (D.D.C. 2021) (finding facial injunction warranted for “nation’s immigration policies”



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to maintain a “uniform Rule”). Without facial relief, the President’s Order would take effect at

military stations worldwide—where Plaintiffs could be deployed anytime. Enjoined the ban only

for Plaintiffs, would subject them to a high risk of serving in a unit or under the command of

leaders unprepared to serve alongside transgender troops. That Defendants have already placed

transgender troops on administrative leave rather than allowing them to continue serving in their

current sex demonstrates why a partial remedy would be ineffective. Protecting only the Plaintiffs

while all other transgender troops face separation would inevitably mark Plaintiffs as exceptions

who cannot meet standards—not as qualified service members protected from discriminatory

standards.

                                              CONCLUSION

       For the foregoing reasons, Plaintiffs respectfully request that this Court enter a preliminary

injunction preventing enforcement of the Order and Implementing Guidance in their entireties.


                                     REQUEST FOR RELIEF

                 For the foregoing reasons, this Court should issue an injunction prohibiting the

exclusion of transgender people, including Plaintiffs, from military accessions and retention, or

subjecting them to disparate terms of accessions or retention including ordering that:

       (a) Defendants may not enforce or implement the challenged Executive Orders or

             Implementing Guidance or any other policies designed to carry out the directives in

             those orders to exclude or subject transgender service members, enlistees, and

             prospective enlistees to disparate terms, including without limitation incorporating the

             definitions of sex in Executive Order 14168, Order § 2, in military policy;

       (b) Defendants may not take any other action to (i) initiate or continue separation

             proceedings against current transgender service members for being transgender;


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         (ii) require transgender service members to adhere to facilities, grooming, housing, or

         other sex-specific standards associated with their birth sex; (iii) require transgender

         service members to use pronouns or honorifics associated with their birth sex; (iii) deny

         medical care to transgender service members for being transgender; (iv) delay or deny

         the enlistment or commissioning of prospective service members because they are

         transgender; or (v) place transgender service members on administrative leave for being

         transgender or for not conforming to standards associated with their birth sex;

      (c) Any other relief as is just and proper to ensure that Plaintiffs and other transgender

         service members and enlistees are not subject to disparate terms of enlistment,

         commissioning, retention, service, promotion, or any other terms of military service.

DATED: March 4, 2025                                 Respectfully submitted,

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